      Case 1:23-cv-10829-FDS           Document 137        Filed 03/28/25      Page 1 of 80




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

_______________________________________
                                                )
DANIEL MCCABE, et al., individually             )
and on behalf of all others similarly situated, )
                                                )
              Plaintiffs,                       )
                                                )            Civil Action No.
      v.                                        )            23-10829-FDS
                                                )
FORD MOTOR COMPANY,                             )
                                                )
              Defendant.                        )
_______________________________________)


                   MEMORANDUM AND ORDER ON DEFENDANT’S
                MOTION TO DISMISS THE CONSOLIDATED COMPLAINT


SAYLOR, C.J.

       This is a consolidated set of putative class actions alleging defects in the transmissions of

certain Ford vehicles. Jurisdiction is based on the Class Action Fairness Act of 2005, 28 U.S.C.

§ 1332(d)(2).

       Plaintiffs have brought suit against defendant Ford Motor Company. They represent

putative classes of purchasers and lessees of Ford vehicles equipped with a 10R80 10-speed

automatic transmission. According to the consolidated complaint, the transmission “can shift

harshly and erratically, causing the vehicle to jerk, lunge, clunk, and hesitate between gears.”

(Am. Consolidated Class Action Compl. (“ACC”) ¶ 4).

       The consolidated complaint asserts claims for breach of express warranty; breach of the

implied warranty of merchantability; fraud and fraudulent concealment; and violations of the

trade and consumer-protection laws of various states.
      Case 1:23-cv-10829-FDS           Document 137         Filed 03/28/25      Page 2 of 80




        Treating the allegations of fraud and fraudulent concealment as a single claim, the

consolidated complaint contains 203 claims, asserted by 46 individual plaintiffs. Ford has

moved to dismiss a significant majority of those claims for failure to state a claim upon which

relief can be granted under Fed. R. Civ. P. 12(b)(6). For the reasons set forth below, the motion

will be granted in part and denied in part.

I.     Background

       A.       Factual Background

       The facts are set forth as alleged in the Amended Consolidated Class Action Complaint

(“ACC”).

       According to the complaint, plaintiffs are consumers who purchased or leased vehicles

designed and manufactured by defendant Ford Motor Company equipped with a 10R80 10-speed

transmission. (ACC ¶¶ 35-73). Plaintiffs represent putative classes of consumers in nine

states—Massachusetts, Florida, Alabama, Illinois, Texas, New York, California, Oklahoma, and

Pennsylvania.

       The complaint alleges that when Ford first introduced the 10R80 transmission in the 2017

F-150, it “advertised the ‘improved acceleration and performance’ and ‘enhanced shifting

performance’ offered by the Transmission.” (Id. ¶ 83). Ford also described the transmission as

“innovative” and “class-exclusive,” advertising its “responsiveness and all-around performance.”

(Id. ¶¶ 94, 119).

       According to the complaint, however, the transmission did not live up to Ford’s

representations. It alleges that vehicles equipped with the transmission “slip gears, hesitate, jerk,

lunge, clunk, and/or shift roughly.” (Id. ¶ 132). It further alleges that “[s]ome consumers have

reported that their Vehicle loses power while accelerating, including onto a freeway or through

an intersection, when the Transmission failed to shift up or down.” (Id.). As a result, drivers

                                                  2
       Case 1:23-cv-10829-FDS                 Document 137           Filed 03/28/25          Page 3 of 80




have “reported whiplash and discomfort due to harsh shifting,” “distraction from driving due to

loud and unusual sounds,” “concerns about reliability,” and “that they do not feel safe driving

[their vehicles] in normal traffic conditions.” (Id. ¶¶ 133-34).

         According to the complaint, “[s]ince the 10R80 transmission was introduced . . . drivers

have repeatedly complained to Ford about problematic shifting, including Vehicles lunging,

jerking, hesitating, clunking, and otherwise shifting erratically.” (Id. ¶ 677). It alleges that

numerous complaints filed with the National Highway Transportation Safety Administration

demonstrate that the defects with the 10R80 are “widespread.” (Id. ¶ 558).

         The vehicles in question are covered by Ford’s “New Vehicle Limited Warranty,” which

provides that (subject to certain limitations, such as time and mileage) Ford will repair or replace

any defective parts. (Id. ¶ 846). An owner or lessor seeking repairs under the warranty must

satisfy two preconditions: the vehicle must (1) be “properly operated and maintained” and

(2) “taken to a Ford dealership for a warranted repair during the warranty period.” (Def. Mem.

Exs. 1-7 (“Warranties”) at 9). 1 At that point, the “authorized Ford Motor Company dealer[] will,

without charge, repair, replace, or adjust all parts on your vehicle that malfunction or fail during

normal use during the applicable coverage period due to a manufacturing defect in factory-

supplied materials or factory workmanship.” (Id.).

         In March 2018, Ford issued its first of several “Technical Service Bulletins” (“TSBs”),

instructing technicians on how to address “harsh or delayed shifts” in vehicles equipped with

10R80 transmissions. (ACC ¶¶ 680, 685). The complaint alleges that these TSBs “reflected



         1
          The warranties themselves are referenced in, and critical to, the ACC. (See, e.g., ACC ¶¶ 128-31, 814).
Thus, the Court is permitted to, and will, consider them in deciding the motion to dismiss. Beddall v. State St. Bank
& Trust Co., 137 F.3d 12, 17 (1st Cir. 1998) (“Where a complaint’s factual allegations are expressly linked to—and
admittedly dependent upon—a document (the authenticity of which is not challenged), that document effectively
merges into the pleadings and the trial court can review it in deciding a motion to dismiss under Rule 12(b)(6).”).

                                                          3
      Case 1:23-cv-10829-FDS          Document 137         Filed 03/28/25     Page 4 of 80




knowledge of the Defect that Ford had maintained throughout the design and testing of the 10-

speed Transmission, prior to its first sale to consumers.” (Id. ¶ 686). Ford released further TSBs

and “Special Service Messages” (“SSMs”) between 2018 and 2024 addressing issues with the

10R80. (Id. ¶¶ 679-716). The complaint alleges that these “recommendations fail to remedy the

[10R80]’s shifting problems reported in Class Vehicles.” (Id. ¶ 716).

       The complaint alleges that from 2017 to the present, Ford “has misrepresented the safety,

performance and reliability of the 10R80 . . . through its website, multimedia advertisements,

brochures, and in-person statements by its employees, authorized dealers, agents, sales

representatives and/or repair technicians.” (Id. ¶ 721). According to the complaint, Ford has

characterized the purported defect with the 10R80 as “‘normal,’ or simply a limited period of

adjustment and adaptation.” (Id. ¶ 741). Although Ford allegedly knew about the defect with

the 10R80, it “has allowed Plaintiffs and Class Members to continue to drive the Class

Vehicles,” “has not recalled the [v]ehicles,” and “has not offered to reimburse [v]ehicle owners

and lessees who incurred costs in an attempt to address [transmission problems] . . . [or] for any

diminished value of their [v]ehicles resulting from the [d]efect.” (Id. ¶¶ 744, 746-48).

       The complaint alleges that plaintiffs “have not received the benefit for which they

bargained when they purchased or leased the Class Vehicles,” and “the value of the Class

Vehicles has diminished.” (Id. ¶¶ 751-52).

       B.      Procedural Background

       Massachusetts plaintiffs McCabe, Wright, and Pollack filed the first amended class action

complaint on June 23, 2023. Ford moved to dismiss that complaint, which the Court granted in

part and denied in part. Specifically, the Court dismissed the claims for breach of express

warranty; breach of the implied warranty of fitness; violation of the Magnusson-Moss Warranty

Act (“MMWA”); negligence; unjust enrichment; and fraudulent omission, but denied dismissal
                                                 4
      Case 1:23-cv-10829-FDS          Document 137         Filed 03/28/25      Page 5 of 80




of the claims for breach of the implied warranty of merchantability; fraudulent

misrepresentation; and violation of Chapter 93A.

       By that point, plaintiffs’ counsel had filed eight other putative class actions concerning

the 10R80. And on April 12, 2024, those actions were consolidated with the action filed by the

Massachusetts plaintiffs. On June 14, 2024, plaintiffs filed the operative consolidated complaint,

which asserts claims pleaded on behalf of 46 individual named plaintiffs and on behalf of “all

similarly situated persons . . . who purchased or leased a Ford vehicle equipped with a 10R80 10-

speed transmission . . . .” (ACC ¶ 2). As noted, the consolidated complaint asserts claims for

breach of express warranty (Count 1); breach of the implied warranty of merchantability

(Count 2); violation of the Song-Beverly Consumer Warranty Act (“SBCWA”) for breach of

express warranties, Cal. Civ. Code §§ 1791.2, 1793.2 (Count 3); of the SBCWA for breach of

implied warranties, Cal. Civ. Code §§ 1791.1, 1792 (Count 4); fraud and fraudulent concealment

(Count 5); violation of the Massachusetts Consumer Protection Law, Mass. Gen. Laws ch. 93A

(Count 6); the Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”), Fla. Stat.

§§ 501.201, et seq. (Count 7); the Alabama Deceptive Trade Practices Act (“ADTPA”), AL

Code § 8-19-1, et seq. (Count 8); the Illinois Consumer Fraud and Deceptive Trade Practices

Act (“ICFA”), 815 Ill. Comp. Stat. 505/1, et seq. (Count 9); the Texas Deceptive Trade Practices

and Consumer Protection Act (“TDTPA”), Tex. Bus. Com. Code §§ 17.41, et seq. (Count 10);

New York General Business Law § 349 (Count 11); New York General Business Law § 350

(Count 12); the California Consumer Legal Remedies Act (“CLRA”), Cal. Civ. Code § 1750, et

seq. (Count 13); the California Unfair Competition Law (“UCL”), Cal. Bus. Prof. Code §§

17200, et seq. (Count 14); the Oklahoma Consumer Protection Act (“OCPA”), 15 O.S. §§ 752, et




                                                 5
      Case 1:23-cv-10829-FDS            Document 137         Filed 03/28/25       Page 6 of 80




seq. (Count 15); and the Pennsylvania Unfair Trade Practice and Consumer Protection Law

(“UTPCPL”), 73 Pa. Stat. Ann. § 201-1, et seq. (Count 16).

       Ford has moved to compel arbitration as to 19 of the named plaintiffs. The Court has

granted that motion as to plaintiffs Adduci, Bunger, Garza, Grier, Julie and Todd Haworth, Metz,

Ropieski, Skole, Thompson, Brian and Kelly Wolfe, Daniel Wright, Jeffrey Wright, Erin and

Justin Barlup, Martinez, and McCabe. The claims of those plaintiffs are stayed pending

arbitration. The Court denied the motion as to plaintiff Hartman because the relief sought could

not be granted in this District. The Court accordingly severed and transferred Hartman’s claims

to the Central District of California for resolution of Ford’s motion to compel arbitration. Thus,

this memorandum and order does not address the claims of those 19 plaintiffs.

       Ford has moved to dismiss a significant majority of the claims under Fed. R. Civ. P.

12(b)(6) for failure to state a claim upon which relief can be granted.

II.    Standard of Review

       On a motion to dismiss, the court “must assume the truth of all well-plead[ed] facts and

give . . . plaintiff the benefit of all reasonable inferences therefrom.” Ruiz v. Bally Total Fitness

Holding Corp., 496 F.3d 1, 5 (1st Cir. 2007) (citing Rogan v. Menino, 175 F.3d 75, 77 (1st Cir.

1999)). To survive a motion to dismiss, the complaint must state a claim that is plausible on its

face. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). That is, “[f]actual allegations must

be enough to raise a right to relief above the speculative level, . . . on the assumption that all the

allegations in the complaint are true (even if doubtful in fact).” Id. at 555 (citations omitted).

“The plausibility standard is not akin to a ‘probability requirement,’ but it asks for more than a

sheer possibility that a defendant has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (quoting Twombly, 550 U.S. at 556). Dismissal is appropriate if the complaint fails to set

forth “factual allegations, either direct or inferential, respecting each material element necessary
                                                   6
       Case 1:23-cv-10829-FDS          Document 137         Filed 03/28/25      Page 7 of 80




to sustain recovery under some actionable legal theory.” Gagliardi v. Sullivan, 513 F.3d 301,

305 (1st Cir. 2008) (quoting Centro Medico del Turabo, Inc. v. Feliciano de Melecio, 406 F.3d 1,

6 (1st Cir. 2005)).

III.   Analysis

       A.      Massachusetts Plaintiffs’ Re-Pleaded Claims (McCabe, Wright, and Pollack)

       As noted, the Court previously dismissed several of the claims asserted by Massachusetts

plaintiffs McCabe, Daniel Wright, and Pollack for failure to state a claim upon which relief can

be granted. The parties dispute whether that dismissal was with prejudice, such that those

plaintiffs cannot now resurrect those claims in the now-operative amended class-action

complaint. The Court’s prior dismissal was indeed with prejudice, and those claims cannot now

be renewed.

       The procedural history is instructive. Defendant moved to dismiss plaintiffs’ initial

complaint for failure to state a claim upon which relief can be granted. In response, plaintiffs

filed an amended complaint. Defendant then moved to dismiss the amended complaint with

prejudice. The Court granted that motion as to all counts except those for breach of the implied

warranty of merchantability, fraudulent misrepresentation, and violation of Chapter 93A. In

their opposition, plaintiffs requested “leave to amend to cure any such deficiencies.” (ECF No.

58 at 31). The Court did not address that request in its order.

       It is well settled that “in the absence of a clear statement to the contrary, a dismissal

pursuant to Fed. R. Civ. P. 12(b)(6) is presumed to be with prejudice.” Ross v. Deutsche Bank

Nat’l Tr. Co., 2023 WL 8351577, at *1 (1st Cir. Apr. 6, 2023) (quoting Karvelas v. Melrose-




                                                  7
         Case 1:23-cv-10829-FDS               Document 137             Filed 03/28/25          Page 8 of 80




Wakefield Hosp., 360 F.3d 220, 241 (1st Cir. 2004)). 2 The Court made no such statement in its

order.

         Furthermore, plaintiffs’ request for an opportunity to amend consisted of a sentence-long

conditional entreaty in their opposition memorandum. It was not accompanied by any motion or

argument, nor by a proposed amended complaint such that the Court could reasonably assess the

request. These types of requests are disfavored in this Circuit to such a degree that they are

treated as holding “no legal significance.” City of Miami Fire Fighters’ & Police Officers’ Ret.

Tr. v. CVS Health Corp., 46 F.4th 22, 36 (1st Cir. 2022) (“The district court treated th[e]

‘contingent’ request [for an opportunity to amend] as holding ‘no legal significance.’ We see no

reason to treat it otherwise.” (internal citation omitted)); Fisher v. Kadant, Inc., 589 F.3d 505,

507 (1st Cir. 2009) (“[S]uch a passing request is without effect . . . [and] does not constitute a

motion to amend a complaint.” (quoting Gray v. Evercore Restructuring, LLC, 544 F.3d 320,

327 (1st Cir. 2008))). “Allowing plaintiffs to hedge their bets by adding a cursory contingent

request in an opposition to a motion to dismiss would encourage plaintiffs to test the mettle of

successive complaints and freely amend under Rule 15(a) if their original strategic choices prove

inadvisable.” Fisher, 589 F.3d at 510. Permitting such a practice “would lead to delays,

inefficiencies, and wasted work.” ACA Fin. Guar. Corp. v. Advest, Inc., 512 F.3d 46, 57 (1st

Cir. 2008). Thus, “[p]laintiffs may not, having the needed information, deliberately wait in the

wings . . . with another amendment to a complaint should the court hold the first amended

complaint was insufficient.” Id. 3



          2
            See also Fed. R. Civ. P. 41(b) (“Unless the dismissal order states otherwise . . . any dismissal not under
this rule [(Fed. R. Civ. P. 41)]—except one for lack of jurisdiction, improper venue, or failure to join a party under
Rule 19—operates as an adjudication on the merits.”).
         3
           For the same reasons, plaintiffs’ conditional request for leave to amend in their memorandum of
opposition to the present motion will not be granted.

                                                           8
      Case 1:23-cv-10829-FDS           Document 137        Filed 03/28/25     Page 9 of 80




       The Court’s direction to file a consolidated amended complaint—as a means of

efficiently capturing the many claims of once disparate plaintiffs in a single operative filing—

was not intended to contravene those principles, or to provide the Massachusetts plaintiffs with a

third bite at the apple. The Court dismissed the claims of plaintiffs McCabe, Wright, and Pollack

for breach of express warranty and fraudulent concealment; those dismissals were with

prejudice; and they cannot be resurrected through the vehicle of the amended consolidated

complaint.

       B.       Claims for Breach of Express Warranty (Counts 1 and 3)

       Counts 1 and 3 allege that Ford breached its express warranty to plaintiffs by failing to

repair the defects in the 10R80 transmission. (ACC ¶¶ 810, 852). Count 1 alleges breach of

each respective state’s statutory codification of § 2-313 of the Uniform Commercial Code

(“UCC”), and Count 3 alleges violation of the California SBCWA’s express-warranty provision.

       Those claims are based on Ford’s “New Vehicle Limited Warranty,” which provides:

       Your NEW VEHICLE LIMITED WARRANTY gives you specific legal rights.
       You may have other rights that vary from state to state. Under your New Vehicle
       Limited Warranty if:

       -     your Ford vehicle is properly operated and maintained, and

       -     was taken to a Ford dealership for a warranted repair during the warranty
             period,

       then authorized Ford Motor Company dealers will, without charge, repair,
       replace, or adjust all parts on your vehicle that malfunction or fail during normal
       use during the applicable coverage period due to a manufacturing defect in
       factory-supplied materials or factory workmanship.

       This warranty does not mean that each Ford vehicle is defect free. Defects may be
       unintentionally introduced into vehicles during the design and manufacturing
       processes and such defects could result in the need for repairs. Ford provides the
       New Vehicle Limited Warranty only to remedy manufacturing defects that result
       in vehicle part malfunction or failure during the warranty period.

(Warranties at 8-9).
                                                 9
      Case 1:23-cv-10829-FDS                 Document 137            Filed 03/28/25         Page 10 of 80




                  1.       Manufacturing Versus Design Defect

         Defendant contends that the warranty covers only manufacturing defects; that the

complaint alleges only a design defect in the 10R80; and that therefore the defects alleged in the

complaint are not covered by the warranty.

         The parties do not dispute that the warranty covers only manufacturing defects. The

warranty language clearly states that “Ford provides the New Vehicle Limited Warranty only to

remedy manufacturing defects.” (Id. at 9) (emphasis added).

         The question, then, is whether the complaint alleges a claim for a manufacturing defect in

the 10R80. “A ‘design defect’ exists ‘when the product is built in accordance with its intended

specifications, but the design itself is inherently defective.’ . . . By contrast, a ‘manufacturing

defect exists when an item is produced in a substandard condition,’ i.e., where a manufacturer

‘fails to comply with its own design specifications,’ and is ‘often demonstrated by showing the

product performed differently from other ostensibly identical items of the same product line.’”

Sharma v. BMW of N. Am., LLC, 2014 WL 2795512, at *4 (N.D. Cal. June 19, 2014) (citation

omitted); Secura Ins. Co. v. Deere & Co., 101 F.4th 983, 987 (8th Cir. 2024) (“[R]elating to

defective products, flaws in materials and workmanship refer to mistakes made during the

construction or assembly of a product, while defects in design refer to inadequacies in the plans

used to construct or assemble a product.”). 4

         Without question, the complaint alleges a claim of defective design—indeed, that is




         4
          That distinction is recognized under the laws of all the relevant states. See, e.g., Troup v. Toyota Motor
Corp., 545 Fed. App’x 668, 668 (9th Cir. 2013) (California); Caracci v. Am. Honda Motor Co., 2024 WL 1300919,
at *7 (N.D. Ill. Mar. 27, 2024) (Illinois); Orange Trans. Servs., Inc. v. Volvo Grp. N. Am., LLC, 450 F. Supp. 3d 311,
318 (W.D.N.Y. 2020) (New York); Mack Trucks, Inc. v. BorgWarner Turbo Sys., Inc., 508 Fed. App’x 180, 184 (3d
Cir. 2012) (Pennsylvania); Harman v. Taurus Int’l Mfg., Inc., 661 F. Supp. 3d 1123, 1131 (M.D. Ala. 2023)
(Alabama); Salinas v. Ford Motor Co., 2016 WL 8461424, at *5 (S.D. Tex. May 13, 2016) (Texas); Davenport v.
Thor Motor Coach, Inc., 2015 WL 13021664, at *4 (M.D. Fla. Aug. 6, 2015) (Florida).

                                                         10
     Case 1:23-cv-10829-FDS            Document 137         Filed 03/28/25      Page 11 of 80




exactly how plaintiffs characterize their claims. In its introductory “nature of the case” section,

the complaint states that “[p]laintiffs assert claims related to and resulting from the defective

design of the 10R80 [t]ransmission.” (ACC ¶ 2) (emphasis added). It alleges that Ford

attempted but failed to remedy the transmission problems with a “differently designed”

component. (Id. ¶¶ 14-15). And it asserts that “[a]n auto manufacturer that is aware of design

conditions or decisions that cause its vehicles to jerk, hesitate, surge, or slip gears should

promptly disclose and remedy such defects,” and that Ford was “aware of the [t]ransmission

[d]efect during . . . pre-production design.” (Id. ¶¶ 31, 687) (emphases added).

       If plaintiffs also intended to assert a claim for manufacturing defects, that intention is

well-disguised. The complaint—which is 226 pages long—makes only four mentions of

possible manufacturing defects. Two are passing references to “design and/or manufacturing

defects.” (Id. ¶¶ 4, 7). The third is an allegation that “‘smoothness’ of shifting” is referred to as

“an objective metric” that is “the subject of Ford’s design and manufacturing efforts.” (Id. ¶ 81).

Finally, the question of “[w]hether the [v]ehicles and their [t]ransmissions are defectively

manufactured” is included in a list of common questions of law and fact in the class-allegations

section. (Id. ¶ 792).

       Those vague and conclusory references to manufacturing defects are not accompanied by

any specific factual allegations. That alone is sufficient reason to conclude that the complaint

does not state a claim arising out of any such defects. See Cummings v. FCA US, LLC, 401 F.

Supp. 3d 288, 314-15 (N.D.N.Y. 2019) (“[A]lthough plaintiff made passing notations of a defect

in material, manufacturing and/or workmanship (i.e., that one of the class questions is whether

the transmission contains either type of defect, that the transmission was ‘not adequately

designed, manufactured, and/or tested,’ that the vehicles were ‘designed and manufactured in



                                                  11
      Case 1:23-cv-10829-FDS            Document 137       Filed 03/28/25      Page 12 of 80




such a way as to present an inherent safety risk’), her overall [c]omplaint suggests that she is

really alleging a design defect.”); Garcia v. Chrysler Grp., LLC, 127 F. Supp. 3d 212, 227

(S.D.N.Y. 2015) (“[A] manufacturing defect claim [pleaded] in the alternative to a design defect

claim is subject to dismissal at the motion to dismiss stage where the complaint makes only

‘offhand references to manufacturing defects’ and the purported class includes ‘all purchasers or

lessees’ of the vehicles at issue.”).

        Furthermore, the fact that the complaint alleges that all 10R80 transmissions share the

same defect strongly suggests that the only asserted claims are for defective design. “Where a

defect is common to all vehicles, such a defect is typically considered one of design, rather than

a manufacturing defect.” Rollolazo v. BMW of N. Am., LLC, 2017 WL 6888501, at *8 (C.D. Cal.

May 2, 2017); see also Buniatyan v. Volkswagen Grp. of Am., Inc., 2016 WL 6916824, at *5

(C.D. Cal. Apr. 25, 2016) (“If [p]laintiffs maintain that the S/S Defect is common to all Audi

models equipped with an S/S System, they are by definition alleging a design defect; [p]laintiffs

in a class action may not simultaneously maintain that their vehicles contain only a

manufacturing defect.”). Here, the complaint defines the class as “[a]ll persons in the United

States and its territories who formerly or currently own(ed) or lease(d) one or more [c]lass

[v]ehicles equipped with a 10R80 10-speed automatic Transmission.” (ACC ¶ 777). As

explained in Miller v. Hyundai Motor America, “[t]he very definition of the putative class as

‘all persons in a particular area who purchased and/or leased [a particular model of automobile]’

contradicts the nature of manufacturing defects, which, ‘by definition, are imperfections that

inevitably occur in a typically small percentage of products of a given design as a result of the

fallibility of the manufacturing process.’” 2017 WL 4382339, at *5 (S.D.N.Y. Sept. 29, 2017)

(quoting Gunn v. Hytrol Conveyor Co., 2013 WL 2249241, at *8 (E.D.N.Y. May 22, 2013)).



                                                 12
      Case 1:23-cv-10829-FDS                 Document 137           Filed 03/28/25          Page 13 of 80




         It is true that a handful of courts have found the determination of whether an alleged

defect is the of result design or manufacturing to be inappropriate at the pleading stage. 5

Certainly, “it is logically possible that either could be the case; perhaps the transmissions work

badly even though built as designed; or maybe all were badly built, even though well-patterned.”

Francis v. General Motors, LLC, 504 F. Supp. 3d 659, 673 (E.D. Mich. 2020). And while a

manufacturing defect “is more likely to occur sporadically, it is entirely possible that some grave

error in material or workmanship during assembly caused all Class Vehicles to deviate from

[d]efendant’s intended design.” Granillo v. FCA US LLC, 2016 WL 9405772, at *14 (D.N.J.

Aug. 29, 2016). And it is also true that the facts bearing on the source of the defect are likely to

be uniquely in the defendant’s possession, and thus “require discovery and perhaps expert

analysis to determine.” O’Connor v. Ford Motor Co., 567 F. Supp. 3d 915, 936 (N.D. Ill. 2021);

see also Haag v. Hyundai Motor Am., 969 F. Supp. 2d 313, 316 (W.D.N.Y. 2013) (“Whether

[the] alleged defects arose from a faulty design, faulty materials or faulty workmanship cannot

be ascertained absent discovery, since any information concerning the true origin of the alleged

defect is within the sole possession of the defendant.”); Marshall v. Hyundai Motor Am., 51 F.

Supp. 3d 451, 467 (S.D.N.Y. 2014) (following Haag); Francis v. General Motors, LLC, 504 F.

Supp. 3d 659, 673 (E.D. Mich. 2020) (“[B]ecause the amended complaint does not commit to

either theory on the origin of the defect, and it states facts consistent with a defect that could be

due either to poor design, or to poor materials and workmanship[,] [t]he revelation of which may

be the culprit here must await development of the record.”).

         Those cases are distinguishable for a variety of reasons. The complaint here alleges that



         5
           See, e.g., In re Volkswagen Timing Chain Prod. Liab. Litig., 2017 WL 1902160, at *12 (D.N.J. May 8,
2017) (“Courts within this district have refused to apply a distinction between a defect in design and a defect in
materials or workmanship at the pleading stage of litigation.”).

                                                         13
       Case 1:23-cv-10829-FDS                  Document 137             Filed 03/28/25           Page 14 of 80




Ford had knowledge of the defect “during pre-production design and testing”—an allegation that

is logically inconsistent with an allegation of defective manufacture. (Id. ¶ 687). And the

“nature of the case” is described as “claims related to and resulting from the defective design of

the 10R80 [t]ransmission.” (Id. ¶ 2). In contrast to the circumstances in Marshall and Haag—in

which the plaintiffs specifically contended that there were “material and/or workmanship defects

existing within [the relevant components],” 504 F. Supp. 3d at 673; see 969 F. Supp. 2d at 316—

no such direct allegations appear in the complaint. And in contrast to Francis, where the

complaint “expressly disclaim[ed] any theory of origin for the transmission defect,” 504 F. Supp.

3d at 673, here, plaintiffs expressly characterize their entire action as one “related to and

resulting from . . . defective design,” (ACC ¶ 2).

         More importantly, the complaint in this case simply does not allege a theory of liability

arising out of manufacturing defects. That is surely not an oversight. Plaintiffs are represented

by sophisticated counsel; they are not proceeding pro se. They could have pleaded such a

theory, directly or in the alternative, but chose not to—presumably, for strategic reasons. 6

Whatever their motivation for failing to do so, it is not the proper role of the Court to revisit that

issue now.

         In short, while the ACC makes a smattering of conclusory references to “design and/or

manufacturing defects,” that is not sufficient to assert a claim for manufacturing defects. Rather,

the complaint alleges only claims for defective design, as evidenced by plaintiffs’ own

characterization of their claims, the facts alleged, the lack of any direct allegation of a

manufacturing defect, and the universal nature of the claims. Because the alleged design defect




         6
           It is possible, for example, that plaintiffs elected not to complicate the litigation unnecessarily, or to
introduce individual issues that might greatly undermine their ability to obtain class certification.

                                                            14
      Case 1:23-cv-10829-FDS                 Document 137            Filed 03/28/25          Page 15 of 80




does not fall within the coverage of Ford’s New Vehicle Limited Warranty, all of the express-

warranty claims will be dismissed.

         C.       Claims for Breach of The Implied Warranty of Merchantability (Counts 2
                  and 4)

         Count 2 alleges that Ford breached the implied warranty of merchantability because the

10R80 transmissions were “defective,” “posed a serious safety risk at the time of sale,” and “are

not fit for the ordinary purposes for which such goods are used,” thereby violating each

respective state’s statutory codification of § 2-314 of the UCC. (ACC ¶ 829). Count 4 alleges

violation of the California SBCWA’s implied warranty provision. 7

                  1.       Privity (Count 2) (Alabama, California, Florida, Illinois, New York)

         Defendant contends that a large number of the implied warranty claims should be

dismissed due to lack of contractual privity with Ford under relevant state law. The ACC asserts

two bases for privity, as well as one basis for exception from the privity requirements.

         First, the ACC alleges that “[p]laintiffs had and continue to have sufficient direct dealings

with Ford and/or its authorized dealers, franchisees, representatives, and agents to establish any

required privity of contract,” because “Ford’s authorized dealers, franchisees, representatives,

and agents were not intended to be the ultimate consumers of the Class Vehicles and have no

rights under the warranty agreements provided with the Class Vehicles.” (ACC ¶ 824). Instead,

“[t]he warranty agreements were designed for and intended to benefit only the ultimate

purchasers and lessees of the Class Vehicles, i.e., Plaintiffs and Class Members.” (Id.).

         Second, the ACC alleges that “by extending express written warranties to end-user

purchasers and lessees, [defendant] brought itself into privity with Plaintiffs and all Class



        7
          In their opposition brief, the Illinois plaintiffs and Alabama plaintiff Houseal withdrew their implied
warranty claims. Accordingly, those claims will be dismissed.

                                                          15
     Case 1:23-cv-10829-FDS           Document 137         Filed 03/28/25      Page 16 of 80




Members.” (Id. ¶ 826).

       Third, the ACC alleges that “[p]rivity is not required to assert this claim because

Plaintiffs and the Class Members are intended third-party beneficiaries of contracts between Ford

and its dealers, franchisees, representatives, and agents.” (Id. ¶ 825).

       The Court will address the arguments under each state’s law in turn. When applying state

law, a federal court first “looks to pronouncements of the highest court of the state.” Andrew

Robinson Int’l, Inc. v. Hartford Fire Ins. Co., 547 F.3d 48, 52 (1st Cir. 2008). When that court

has not resolved the question, the federal court “is to ascertain the rule the state court would most

likely follow under the circumstances . . . tak[ing] care not to extend state law beyond its well-

marked boundaries.” CVS Pharmacy, Inc. v. Lavin, 951 F.3d 50, 58 (1st Cir. 2020) (citations

and quotations omitted). While not binding, intermediate appellate state-court decisions are

relevant data points “for ascertaining state law which [are] not to be disregarded by a federal

court unless it is convinced by other persuasive data that the highest court of the state would

decide otherwise.” West v. Am. Tel. & Tel. Co., 311 U.S. 223, 237 (1940).

                       a.      Alabama

       Under Alabama law, “without privity of contract, there is no right of action against a

manufacturer for direct economic loss.” Rhodes v. Gen. Motors Corp., Chevrolet Div., 621

So.2d 945, 947 (Ala. 1993); see Rampey v. Novartis Consumer Health, Inc., 867 So.2d 1079,

1087 (Ala. 2003) (“The law in this State is that a claim for breach of an implied warranty is not

available against a manufacturer who was not involved in the transaction pursuant to which the

complaining party purchased the product.”); Varney v. Ford Motor Co., 2007 WL 2780566, at *3

(M.D. Fla. Sept. 15, 2007) (“Under Alabama law, implied warranty claims require privity

between the plaintiff and the defendant . . . even if the suit is brought against a manufacturer.”

(citation omitted)).
                                                 16
     Case 1:23-cv-10829-FDS            Document 137        Filed 03/28/25     Page 17 of 80




       Plaintiffs contend that they fall within a third-party-beneficiary exception to the Alabama

privity requirement. Some federal courts have found such an exception to exist under Alabama

law. See, e.g., Hurry v. Gen. Motors, LLC, 622 F. Supp. 3d 1132, 1146 (M.D. Ala. 2022);

Freeman v. NIBCO, Inc., 526 F. Supp. 3d 1112, 1132 (N.D. Ala. 2020); Naef v. Masonite Corp.,

932 F. Supp. 1504, 1508 (S.D. Ala. 1996). Others, however, have come to the opposite

conclusion. See, e.g., Droesser v. Ford Motor Co., 2023 WL 2746792, at *17 (E.D. Mich. Mar.

21, 2023); Pistorio v. FCA U.S., LLC, 2022 WL 141524, at *9 (E.D. Mich. Jan. 14, 2022);

Weidman v. Ford Motor Co., 2019 WL 3003693, at *4 (E.D. Mich. July 10, 2019). The Court

agrees that Alabama law might recognize a limited form of third-party-beneficiary exception.

However, the narrow scope of that exception does not extend to the claims in this case.

       It is well settled that “under Alabama’s version of the [UCC], implied warranties are

applicable only to sellers.” Ex parte Gen. Motors Corp., 769 So.2d 903, 910 (Ala. 1999)

(emphasis added). And the Alabama Supreme Court has repeatedly distinguished “sellers” from

“manufacturers.” See, e.g., Horton Homes, Inc. v. Brooks, 832 So.2d 44, 48 (Ala. 2001)

(“Generally, implied warranties apply only to the seller, not the manufacturer.”); Rhodes, 621

So.2d at 947 (“[E]ach section in the Uniform Commercial Code dealing with implied warranties

places obligations on the seller of goods. In this case, General Motors was the manufacturer of

the automobile . . . .” (emphasis in original)); Wellcraft Marine, a Div. of Genmar Indus., Inc. v.

Zarzour, 577 So.2d 414, 419 (“There is no right of action on an implied warranty theory against

a manufacturer . . . without privity of contract.” (emphasis in original)).

       As a general matter, Alabama courts strictly apply that distinction. However, the

Alabama Supreme Court has recognized that under some circumstances an implied warranty may

apply to a manufacturer despite the presence of an intermediary between it and the ultimate



                                                 17
      Case 1:23-cv-10829-FDS                 Document 137            Filed 03/28/25         Page 18 of 80




consumer. In Horton Homes, the court stated that “implied warranties can apply to the

manufacturer when . . . the product has been specially manufactured for a particular customer

and the manufacturer can reasonably expect the customer to be affected by any problems with

the product.” 832 So.2d 44, 48. 8 Outside that narrow set of circumstances, Alabama courts have

not recognized, post-Rhodes, any form of third-party-beneficiary exception to the privity

requirement in implied warranty actions. 9 This case does not present such a narrow set of

circumstances; the ACC does not contain any allegations suggesting that Ford “specially

manufactured” any vehicle “for a particular consumer.” Thus, Ford is a “manufacturer” in the

traditional sense under Alabama law, not a seller—and not, therefore, subject to implied-

warranty-of-merchantability liability as to the ultimate purchasers of its vehicles. See Kidd v.

Kilpatrick Chevrolet, Inc., 613 So.2d 336, 338 (Ala. 1993) (“[B]ecause [defendant] was not the

‘seller,’ the implied warranty sections are not applicable.”)

         Plaintiffs’ attempt to derive privity from Ford’s express warranty is likewise unavailing

under Alabama law. See Wellcraft, 577 So.2d at 419 (“[Plaintiff] cites no authority for the


         8
           That is fundamentally the same reasoning underlying Morris Concrete, Inc. v. Warrick, 868 So.2d 429
(Ala. Civ. App. 2003), a case that served as a basis (and in some instances the sole basis) for the federal-court
decisions finding a third-party-beneficiary exception under Alabama law. In Morris Concrete, the court remained
within the boundaries of the “seller” limitation to implied-warranty actions by finding that the manufacturer
functionally “was the seller.” 868 So.2d at 435 (emphasis added). That finding was based on the facts that (1) the
intermediary expressly informed the manufacturer of the specific person for whom he was buying the concrete; (2)
the intermediary provided the particular specifications that the ultimate user would need; and (3) the ultimate user
called the manufacturer himself, informed it of the arrangement between himself and the intermediary, and
requested delivery, and the manufacturer delivered the concrete directly to the ultimate user.
         9
           The other Alabama case that federal courts have most frequently relied upon in finding a third-party-
beneficiary exception is Chandler v. Hunter, 340 So.2d 818 (Ala. Civ. App. 1976). Not only is Chandler a lower-
court case, but it pre-dates the Alabama Supreme Court’s holdings in Rhodes and Rampey by 17 years, and thus does
not take into account the subsequently developed Alabama authority restricting the applicability of a third-party-
beneficiary exception to the privity requirement. Furthermore, it shares with Morris Concrete the crucial distinction
that the only seller was the manufacturer—the intermediary never actually sold the relevant product to the ultimate
user. Chandler, 340 So.2d at 822 (“Under the terms of a divorce decree, [the intermediary] was to furnish Mrs.
Hunter a place to live in lieu of making child support payments. [The intermediary] brought [sic] the mobile home
for that purpose and no other.”).



                                                         18
      Case 1:23-cv-10829-FDS                Document 137            Filed 03/28/25         Page 19 of 80




proposition that an express warranty converts a manufacturer into a ‘seller’ for the purpose of the

commercial code’s implied warranty provisions. Regardless of any express warranties that a

manufacturer may wish to give with a product, by their very language the commercial code’s

implied warranty sections apply to the seller of the product.”); Rhodes, 621 So.2d at 947-48

(“We see no reason to disturb [Wellcraft’s] holding [on the effect of express manufacturer

warranties] in this case.”).

        Plaintiffs’ citation to Bolling v. Mercedes-Benz USA, LLC, 2024 WL 3972987 (N.D. Ga.

Aug. 27, 2024) is unpersuasive. The court in Bolling treated a manufacturer’s express warranty

as sufficient to plead privity without considering the clearly contrary Alabama precedent in

Wellcraft and Rhodes. Bolling, 2024 WL 3972987, at *11. The court then looked to McGowan

v. Chrysler Corp., 631 So. 2d 842, 848 (Ala. 1993), a case considering third-party-beneficiary

status in the context of fraud and breach of contract claims, 10 and Lisk v. Lumber One Wood

Preserving, LLC, 792 F.3d 1331, 1339 (11th Cir. 2015), a case considering third-party-

beneficiary rights in the context of an express warranty. Id. at 11-12. And the court further

relied upon Hurry v. Gen. Motors, 11 which overstated the import of the holdings in Chandler and

Morris Concrete to find a broad third-party-beneficiary exception, 622 F. Supp. 3d at 1146-47,

when, as shown above, the exception that does exist under Alabama law is narrowly restricted,

see Horton Homes, 832 So.2d at 48.

        In sum, Alabama law provides that (1) privity is required to bring a claim for breach of

the implied warranty of merchantability; (2) such causes of action are available only against




        10
           Furthermore, the McGowan court found that the plaintiff had failed to show that he “was either a direct
or an intended beneficiary, as opposed to an incidental beneficiary, [of the warranty contract between manufacturer
and dealer],” and thus “had no valid third-party contract claim.” 631 So. 2d at 848.
        11
             Bolling, 2024 WL 3972987, at *12

                                                        19
      Case 1:23-cv-10829-FDS            Document 137         Filed 03/28/25       Page 20 of 80




sellers, not manufacturers; (3) although there is an exception to that rule, it is only in the narrow

context of a manufacturer that specially produces a product for a particular consumer; and (4) a

manufacturer’s express warranty for repairs through a dealer does create implied-warranty

liability. Thus, under Alabama law and the facts alleged, the complaint does not assert claims

for breach of the implied warranty of merchantability against Ford, and those claims will be

dismissed.

                        b.      California

        “California Commercial Code § 2314 requires vertical privity for an implied warranty of

merchantability claim,” but “[t]he privity requirement is not required for an implied warranty of

merchantability claim brought under California’s Song–Beverly Act.” Allen v. Similasan Corp.,

96 F. Supp. 3d 1063, 1075 (S.D. Cal. 2015). Thus, defendant’s challenge to plaintiffs’ privity

has no bearing on the SBCWA claims but is relevant to plaintiffs’ implied-warranty claims under

the California Commercial Code.

        Again, plaintiffs contend that they fall within a third-party-beneficiary exception to the

privity requirement. And again, federal courts considering the matter are split as to whether such

an exception exists under California law. See Synder v. TAMKO Bldg. Prod. Inc., 2019 WL

4747950, at *7 (E.D. Cal. Sept. 30, 2019) (“California district courts are split on the application

of the third party beneficiary exception to the rule of privity.” (citations omitted)).

        The majority of federal courts to consider the issue have recognized such an exception.

See Neu v. FCA U.S., LLC, 2023 WL 10406710, at *3 (C.D. Cal. Nov. 13, 2023) (“[T]he

majority of courts in the Ninth Circuit recognize an exception to the privity requirement when

the plaintiff alleges it is a third-party beneficiary to a contract that gives rise to the implied

warranty of merchantability.”); In re Seagate Tech., LLC Litig., 233 F. Supp. 3d 776, 787 (N.D.

Cal. 2017) (“[T]he majority of district court decisions to consider the question have held that a
                                                   20
     Case 1:23-cv-10829-FDS            Document 137        Filed 03/28/25       Page 21 of 80




consumer who purchased a product from a retailer can invoke the third party beneficiary

exception to bring an implied warranty claim against the manufacturer.”); In re Toyota Motor

Corp. Unintended Acceleration Mktg, Sales Pracs., & Prods. Liab. Litig., 754 F. Supp. 2d 1145,

1184 (C.D. Cal. 2010) (“Although courts applying California law regarding the third-party

beneficiary exception to the vertical privity requirement of implied warranty claims have come

to differing conclusions, the clear weight of authority compels a conclusion that where plaintiffs

successfully plead third-party beneficiary status, they successfully plead a breach of implied

warranty claim.”); O’Connor, 567 F. Supp. 3d at 942 (“[T]his Court will follow . . . the bulk of

federal district courts in concluding that the third-party beneficiary exception to the privity

requirement is viable under California law.”).

       The Court respectfully disagrees with the majority, and is instead convinced that, in this

context, recognizing a third-party-beneficiary exception to the privity requirement under

California law would be an abrogation of the Court’s duty not to “extend state law beyond its

well-marked boundaries.” Lavin, 951 F.3d at 58.

        For the purposes of asserting a breach of warranty claim under California law, “a buyer

and seller stand in privity if they are in adjoining links of the distribution chain.” Clemens v.

DaimlerChrysler Corp., 534 F.3d 1017, 1023 (9th Cir. 2008) (citing Osborne v. Subaru of Am.,

Inc., 198 Cal. App. 3d 646, 656 n.6 (Cal. Ct. App. 1988)). “Thus, an end consumer . . . who

buys from a retailer is not in privity with a manufacturer.” Id. However, “some particularized

exceptions to the rule exist.” Id. The court in Clemens went on to list a series of exceptions that

did not include an exception for third-party beneficiaries. Id. However, neither that omission

nor the remainder of the Clemens decision definitively establishes that California law would not

recognize such an exception. The court in Clemens did “decline [the] invitation to create a new



                                                 21
     Case 1:23-cv-10829-FDS            Document 137        Filed 03/28/25       Page 22 of 80




exception” in response to the plaintiff’s “urg[ing] that [the exceptions identified by the court] are

exemplary rather than exhaustive, and that similar equities support an exception for his

case.” Id. Yet the court never explicitly stated that its list of exceptions was in fact exhaustive.

And the plaintiff only averred a vague exception based on “similar equities,” so the court was

never presented with the prospect of an exception for third-party beneficiaries and never

provided a direct holding on the matter one way or the other. Thus, while “a federal court sitting

in diversity is not free to create new exceptions,” id. (emphasis added), Clemens does not resolve

whether an exception to the privity requirement for third-party beneficiaries would be an

extension of California law, as opposed to an already existing feature.

       Courts finding a third-party-beneficiary exception under California law have “typically

cited Gilbert Financial Corp. v. Steelform Contracting Co., 82 Cal. App. 3d 65, 145 Cal.Rptr.

448 (1978), in support.” In re MyFord Touch Consumer Litig., 46 F. Supp. 3d 936, 983 (N.D.

Cal. 2014). “In Gilbert, the plaintiff-homeowner asserted an implied warranty claim against a

subcontractor. The trial court dismissed the claim on the basis of lack of privity. On appeal, the

appellate court stated: ‘[U]nder the facts of this case we do not need to decide the issue of

privity per se’ because, ‘[u]nder Civil Code section 1559 and the cases interpreting it, we

conclude [the plaintiff-homeowner] is a third party beneficiary of the contract between [the

contractor] and [the defendant-subcontractor] and therefore can sue for breach of the implied

warranty of fitness.’” Id. (quoting Gilbert, 82 Cal. App. 3d at 69).

       Courts critical of that approach assert that the holding of Gilbert is restricted to the

specific factual circumstances of the case. See, e.g., Quakenbush v. Am. Honda Motor Co., Inc.,

650 F. Supp. 3d 837, 843 (N.D. Cal. 2023) (“Gilbert . . . involved the specific circumstance of a

homeowner suing a construction subcontractor . . . [and] [m]aintaining the application of the



                                                 22
     Case 1:23-cv-10829-FDS            Document 137         Filed 03/28/25       Page 23 of 80




exception to the real estate context is in alignment with the California authority and provides

deference to California courts to define their own exceptions.”); Seagate, 233 F. Supp. 3d at 787

(“Nor is it clear that Gilbert, a case considering a subcontract to build a roof for a specific,

identifiable customer, . . . compels relaxing the privity rule for all end purchasers of products

sold through retailers.” (citation omitted)); In re Evenflo Co., Inc. Mktg., Sales Pracs. & Prods.

Liab. Litig., 707 F. Supp. 3d 103, 130 (D. Mass. 2023) (“The Court is persuaded that Gilbert, a

case based on the relationship between a homeowner and subcontractor, does not stand for the

proposition that a consumer is a more than incidental beneficiary of the contract between a

manufacturer and retailer.” (citing Seagate, 233 F. Supp. 3d at 787)).

       Exceptions to the privity requirement under California law have typically been narrow

and fact-specific. See, e.g., Burr v. Sherwin Williams Co., 42 Cal.2d 682, 695-96 (1954)

(recognizing an exception “in cases involving foodstuffs” and “in a few cases where the

purchaser of a product relied on representations made by the manufacturer in labels or

advertising material”); Gottsdanker v. Cutter Lab’ys, 182 Cal. App. 2d 602, 607 (Cal. Ct. App.

1960) (pharmaceuticals); Arnold v. Dow Chem. Co., 91 Cal. App. 4th 698, 720-21 (Cal. Ct. App.

2001) (pesticides); Peterson v. Lamb Rubber Co., 54 Cal.2d 339, 347-48 (1960) (end-user

employee of purchaser). And “no reported California decision has held that the purchaser of a

consumer product may dodge the privity rule by asserting that he or she is a third-party

beneficiary of the distribution agreements linking the manufacturer to the retailer who ultimately

made the sale.” Xavier v. Philip Morris USA, Inc., 787 F. Supp. 2d 1075, 1083 (N.D. Cal. 2011).

       As articulated in Clemens, “California courts have painstakingly established the scope of

the privity requirement.” 534 F.3d at 1024. Thus, to extrapolate from Gilbert—a lower-court

case concerning the specific relationship between a subcontractor and homeowner—to a broader



                                                  23
      Case 1:23-cv-10829-FDS                 Document 137            Filed 03/28/25         Page 24 of 80




third-party-beneficiary exception applicable to a vehicle manufacturer and the ultimate purchaser

would be an abrogation of the Court’s duty not to “extend state law beyond its well-marked

boundaries.” Lavin, 951 F.3d at 58. Accordingly, the complaint does not state a claim against

Ford for breach of the implied warranty of merchantability under the California Commercial

Code, and those claims will be dismissed.

                           c.       Florida

         “Under Florida law, a consumer must enjoy privity of contract with a supplier to recover

for breach of an implied warranty.” Kelly v. Lee Cnty. RV Sales Co., 819 F. App’x 713, 717

(11th Cir. 2020) (citing Mesa v. BMW of N. Am., LLC, 904 So.2d 450, 458 (Fla. Dist. Ct. App.

2005)). 12

         Plaintiffs assert that they fall within a third-party-beneficiary exception to the Florida

privity requirement. As with Alabama and California, federal courts are split as to whether such

an exception is recognized under Florida law. Compare Weiss v. Gen. Motors, LLC, 418 F.

Supp. 3d 1173, 1182-83 (S.D. Fla. 2019) (finding third-party-beneficiary exception); Sanchez-

Knutson v. Ford Motor Co., 52 F. Supp. 3d 1223, 1234 (S.D. Fla. 2013) (same); Ohio State

Troopers Ass’n, Inc. v. Point Blank Enters., Inc., 2018 WL 3109632, at *7 (S.D. Fla. Apr. 5,



         12
            Plaintiffs appear to contend that there is no privity requirement to bring an implied warranty claim under
Florida law, relying on Manheim v. Ford Motor Co., 201 So.2d 440 (Fla. 1967). The court in Manheim concluded
that “neither the absence of privity between the manufacturer and a purchaser . . . , nor the execution of a written
warranty agreement between the manufacturer and its dealer . . . operates to preclude recovery on the basis of
implied warranty.” 201 So.2d at 442. However, it appears that Manheim is no longer good law. As explained by
the court in Leon v. Continental AG, “the Florida Supreme Court later abrogated [Manheim,]” and “subsequent
implied warranty cases have required privity.” 301 F. Supp. 3d 1203, 1223-24 (S.D. Fla. 2017); see also Rife v.
Newell Brands, Inc., 632 F. Supp. 3d 1276, 1303 n.15 (S.D. Fla. 2022) (“Before Kramer (it’s true), Florida law
allowed implied-warranty claims without a showing of privity between the manufacturer and the ultimate
consumer. . . . But Kramer changed all that.” (emphasis in original) (citations omitted)); Sanchez-Knutson v. Ford
Motor Co., 52 F. Supp. 3d 1223, 1233 (S.D. Fla. 2013) (“While the Florida Supreme Court may very well explain in
the future that Kramer has not effectively overruled Manheim, the best indication for this Court at the present of
what the Florida Supreme Court would decide is the Third District Court of Appeal’s holding in Mesa, that, ‘[u]nder
Florida law, a plaintiff cannot recover economic losses for breach of implied warranty in the absence of
privity.’ 904 So.2d at 458.”).

                                                         24
     Case 1:23-cv-10829-FDS            Document 137         Filed 03/28/25       Page 25 of 80




2018) (same); Pegasus Aviation IV, Inc. v. Aircraft Composite Techs., Inc., 2016 WL 3390122,

at *5 (S.D. Fla. June 17, 2016) (same); Feldman v. BRP U.S., Inc., 2018 WL 8300534, at *8

(S.D. Fla. Mar. 28, 2018) (same); Varner v. Domestic Corp., 2017 WL 3730618, at *12 (S.D.

Fla. Feb. 7, 2017) (same); O’Connor, 567 F. Supp. 3d at 943 (same), with Valiente v. Unilever

United States, Inc., 2022 WL 18587887, at *14 (S.D. Fla. Dec. 8, 2022) (finding no third-party-

beneficiary exception); Padilla v. Porsche Cars N. Am., Inc., 391 F. Supp. 3d 1108, 1117-19

(S.D. Fla. 2019) (same); Tershakovec v. Ford Motor Co., 2018 WL 3405245, at *10 (S.D. Fla.

July 12, 2018) (same); Nuwer v. FCS U.S., LLC, 2023 WL 8724014, at *6-7 (S.D. Fla. Sept. 29,

2023) (same); Hawkins v. Shimano N. Am. Bicycle, Inc., 729 F. Supp. 3d 989, 1024 (C.D. Cal.

2024) (same); Burgos v. Am. Honda Motor Co., Inc., 2024 WL 2108843, at *6-7 (C.D. Cal. May

7, 2024) (same).

        The most compelling critique of the decisions declining to find an exception arises from

their reliance on In re Takata Airbag Products Liab. Litig., 193 F. Supp. 3d 1324 (S.D. Fla.

2016). That critique is summarized in Weiss:

        Defendant’s argument relies on a line of cases citing [In re Takata]. . . . The
        problem with this line of cases is that the plaintiffs in Takata did not respond to
        the defendant’s privity argument. . . . Therefore, the court did not consider or
        analyze a fully briefed and contested third-party beneficiary argument. Therefore,
        the Court finds this line of cases unpersuasive.

418 F. Supp. 3d at 1182-83; see also O’Connor, 567 F. Supp. 3d at 943 (adopting the

same reasoning).

        While that may be a valid reason to question reliance on those cases, the critique

does not address the underlying state of Florida law on the matter. Perez v. Toyota Motor

Sales, U.S.A., Inc., 2022 WL 17886035, at *4 (C.D. Cal. July 1, 2022) (“The Weiss case,

in turn, relies on a series of federal district court cases . . . . None of these cases, however



                                                  25
      Case 1:23-cv-10829-FDS                 Document 137             Filed 03/28/25         Page 26 of 80




constitute or cite to binding Florida-state authority applying a third-party beneficiary

theory in a manufacturer-dealership-consumer context.”).

         In fact, Florida law demonstrates consistent adherence to a strict privity requirement for

implied-warranty actions, and reflects a notable absence of recognition for any third-party

beneficiary exception. See Padilla, 391 F. Supp. 3d at 1116 (“Time and again, Florida courts

have dismissed breach of implied warranty claims under Florida law for lack of contractual

privity where the plaintiff purchaser did not purchase a product directly from the defendant.”

(collecting Florida-state cases)); Hawkins, 729 F. Supp. 3d at 1024 (“[T]he ‘overwhelming

weight of Florida law’ does not recognize a third-party beneficiary exception.” (citation

omitted)); Valiente, 2022 WL 18587887, at *14 (“Although some federal courts have applied a

third-party beneficiary exception to the privity requirement . . . , the Court has found no Florida

case applying a third-party beneficiary exception to the privity requirement for a breach of

implied warranty claim.” (emphasis in original) (citation omitted)).

         Because Florida courts have consistently maintained a strict privity requirement in the

implied-warranty context and have not recognized a third-party-beneficiary exception, despite

ample opportunity to do so, the Court will not take the liberty of recognizing such an exception

itself. 13 Accordingly, the Florida plaintiffs’ claims for breach of the implied warranty of

merchantability will be dismissed.



          13
             Furthermore, even if such an exception were recognized, the pleadings here would likely be insufficient
to invoke that exception under Florida law. The only contract specifically identified in the ACC is Ford’s express
warranty. See Weimar v. Yacht Club Point Ests., Inc., 223 So.2d 100, 103 (Fla. Dist. Ct. App. 1969) (“[I]t behooves
one seeking to establish a cause of action as a third party beneficiary to sufficiently allege the terms and provisions
of the contract which he asserts was made for his benefit. Failure to do so may result in dismissal of the cause[.]”).
But an express warranty alone cannot support an implied-warranty claim under Florida law. See Hicks v.
Bombardier Recreational Prods., Inc., 684 F. Supp. 3d 1223, 1248 (S.D. Fla. 2023) (“[Defendant’s] limited
warranty does not support claims for breaches of implied warranties. A manufacturer’s express warranty may only
give rise to a claim for breach of that express warranty.” (emphasis in original) (citing Mesa v. BMW of N. Am.,
LLC, 904 So.2d 450, 458 (Fla. Dist. Ct. App. 2005))).

                                                          26
     Case 1:23-cv-10829-FDS            Document 137        Filed 03/28/25       Page 27 of 80




                       d.      Illinois

       The implied-warranty claims of the Illinois plaintiffs have been withdrawn and will

accordingly be dismissed.

                       e.      New York

       “[U]nder New York law, express and implied breach of warranty claims seeking to

recover for financial injuries . . . require a showing of privity between the manufacturer and the

plaintiff unless an exception applies.” MacNaughton v. Young Living Essential Oils, LC, 67

F.4th 89, 101 (2d Cir. 2023). The parties do not dispute that New York law recognizes a third-

party-beneficiary exception to the privity requirement. See Praxair, Inc. v. Gen. Insulation Co.,

611 F. Supp. 2d 318, 330 (W.D.N.Y. 2009) (“Under New York law, . . . [a]n intended

beneficiary of a contract may assert a claim as a third-party beneficiary, . . . including for breach

of implied warranty.”); Catalano v. BMW of N. Am., LLC, 167 F. Supp. 3d 540, 557 (S.D.N.Y.

2016) (recognizing, implicitly, existence of a third-party-beneficiary exception under New York

law); Marshall v. Hyundai Motor Am., 51 F. Supp. 3d 451, 469-70 (S.D.N.Y. 2014) (same).

“Under New York law, a plaintiff claiming rights as a third-party beneficiary must demonstrate:

(1) the existence of a valid and binding contract between other parties, (2) that the contract was

intended for his benefit and (3) that the benefit to him is sufficiently immediate, rather than

incidental, to indicate the assumption by the contracting parties of a duty to compensate him if

the benefit is lost.” Catalano, 167 F. Supp. 3d at 557; Marshall, 51 F. Supp. 3d at 469 (same).

       The core dispute concerns whether the New York plaintiffs have sufficiently pleaded

third-party-beneficiary status. As summarized in O’Connor:

       Courts applying the third-party beneficiary exception in cases that are factually
       similar to this one have come to mixed conclusions on the level of specificity
       required to plausibly allege a breach of implied warranty claim based on the
       theory that the purchasers of vehicles are intended third-party beneficiaries of
       contracts between a vehicle manufacturer and its dealers. The resolution of each

                                                 27
     Case 1:23-cv-10829-FDS           Document 137        Filed 03/28/25      Page 28 of 80




       case ultimately came down to how much specificity the court required concerning
       the terms of the contract between the manufacturer and its dealers.

567 F. Supp. 3d at 945.

       Several federal district courts in New York have dismissed implied-warranty claims

under New York law where the complaint failed to “identify[] specific contracts and contract

terms between manufacturers and dealers.” Id. (citing Cummings v. FCA U.S., LLC, 401 F.

Supp. 3d 288, 313 (N.D.N.Y. 2019); Catalano, 167 F. Supp. 3d at 557; Dixon v. Ford Motor

Co., 2015 WL 6437612, at *6 (E.D.N.Y. Sept. 30, 2015)). The court in Cummings dismissed

such a claim where the complaint did “not include[] any factual allegations regarding the

contract between [d]efendant and the authorized dealer.” 401 F. Supp. 3d at 313. The court in

Catalano dismissed the claim where the plaintiff, without citing any contractual provisions,

“baldly allege[d] that he and the other class members were ‘intended third-party beneficiaries of

the contracts for sale of the [c]lass [v]ehicles from [d]efendants to the dealerships who ultimately

sold the [c]lass [v]ehicles to [p]laintiff and [c]lass members’ and that defendants knew that

consumers were the ‘end-users of the Class Vehicles.’” 167 F. Supp. 3d at 557. Finally, the

court in Dixon dismissed the claim where “the complaint allege[d], in conclusory fashion, that

plaintiff was the intended beneficiary of ‘Ford’s written warranties and its contractual

relationships with Ford dealerships’ and that ‘Ford’s express warranties were designed for and

intended to benefit the consumers only.’” 2015 WL 6437612, at *6.

       The allegations in the ACC are nearly identical. Specifically, the ACC asserts, without

elaboration, that “Ford’s authorized dealers, franchisees, representatives, and agents were not

intended to be the ultimate consumers of the Class Vehicles and have no rights under the

warranty agreements provided with the Class Vehicles”; that “[t]he warranty agreements were

designed for and intended to benefit only the ultimate purchasers and lessees of the Class

                                                28
     Case 1:23-cv-10829-FDS            Document 137         Filed 03/28/25      Page 29 of 80




Vehicles, i.e., [p]laintiffs and [c]lass [m]embers”; and that plaintiffs “are intended third-party

beneficiaries of contracts between Ford and its dealers, franchisees, representatives, and agents.”

(ACC ¶¶ 824-25).

       While those facts would certainly be insufficient at a later stage of litigation, that does not

necessarily mean they fail at the pleading stage. Importantly, as noted in O’Connor, “this is a

matter of applying the federal pleading standards, rather than predicting how the New York

courts would rule substantively on plaintiff[s’] claim[s].” 567 F. Supp. 3d at 946. In assessing a

motion to dismiss for failure to state a claim, a federal court is to “take the complaint’s well-

pl[eaded] (i.e., non-conclusory, non-speculative) facts as true . . . and see if they plausibly narrate

a claim for relief.” Bourgeois v. TJX Cos., Inc., 2025 WL 500524, at *2 (1st Cir. Feb. 14, 2025).

That is a “context-specific task that requires the reviewing court to draw on its judicial

experience and common sense,” Iqbal, 556 U.S. at 679, while being careful to “isolate and

ignore statements in the complaint that simply offer legal labels and conclusions or merely

rehash cause-of-action elements,” Schatz v. Republican State Leadership Comm., 669 F.3d 50,

55 (1st Cir. 2012).

       The bare assertion that intermediaries were not the intended ultimate consumers cannot

alone suffice to establish third-party-beneficiary status—that would completely nullify the

privity requirement as to most manufacturers. And the assertion that plaintiffs “are intended

third-party beneficiaries of contracts between Ford and its dealers,” (ACC ¶ 825), without more,

is plainly a legal conclusion that the Court should “isolate and ignore,” Schatz, 669 F.3d at 55.

Thus, the entirety of plaintiffs’ claim to third-party-beneficiary status must be derived from the

allegations that the dealers “have no rights under the warranty agreements” and that “[t]he

warranty agreements were designed for and intended to benefit only the ultimate purchasers and



                                                  29
     Case 1:23-cv-10829-FDS            Document 137        Filed 03/28/25       Page 30 of 80




lessees.” (ACC ¶ 824). Those allegations, however, do not set forth “the existence of a valid

and binding contract between other parties” as required under New York law. State of

California Pub. Employees' Ret. Sys. v. Shearman & Sterling, 95 N.Y.2d 427, 434-35 (2000)

(emphasis added); see In re Seagate Tech. LLC Litig., 2017 WL 3670779, at *7 (N.D. Cal. Aug.

25, 2017) (“There is no indication . . . that the express warranty is a contract between

Seagate and its retailers, as opposed to between Seagate and its customers.” (emphasis in

original)). While it may not be explicitly alleged in the ACC, common sense would suggest that

there is likely some form of contractual arrangement directly between Ford and the dealers in

order to ensure that the dealers actually perform the repairs covered by the warranty.

       However, a supportable claim of third-party-beneficiary status for the purposes of the

implied warranty of merchantability would require yet another layer of conjecture. New York’s

Commercial Code creates an implied warranty of merchantability “in a contract for . . . sale” of

goods. N.Y. U.C.C. § 2-314(1) (emphasis added). The Court would not only have to read into

the ACC that the warranty was part of a direct contract between Ford and its dealers, but also

assume that the contract was one of sale. While the Court may be bound to give plaintiffs “the

benefit of all reasonable inferences,” Ruiz, 496 F.3d at 5, there is a point beyond which inference

turns to speculation, and here the claim can only be sustained by speculation.

       As stated in Marshall, the “contention that . . . ‘sales contracts’ [between defendant and

its authorized dealers] included the warranty provisions by which [d]efendant provided coverage

for [p]laintiffs’ vehicles may provide a basis to infer that the contracting parties intended to

benefit [p]laintiffs,” but “no such allegation appears in [p]laintiffs’ Amended [Consolidated]

Complaint.” 51 F. Supp. 3d at 469. Thus, the complaint fails to sufficiently plead an exception

to the privity requirement, and the implied-warranty claims under New York law will be



                                                 30
      Case 1:23-cv-10829-FDS                  Document 137            Filed 03/28/25          Page 31 of 80




dismissed. 14

                  2.       Pre-Suit Notice (Count 2) (Pennsylvania)

         Defendant contends that the Pennsylvania implied-warranty claim asserted by plaintiff

Ropieski fails because he failed to provide Ford with the requisite pre-suit notice of his claim. 15

Because plaintiff Ropieski’s claims are currently stayed pending arbitration, the Court need not

address the issue at this stage.

                  3.       Used Vehicles (Count 4) (California)

         Plaintiff Simmons has withdrawn her implied-warranty claim under the SBCWA, and

accordingly that claim will be dismissed.

                  4.       Lack of Merchantability (Counts 2 and 4)

         Defendant contends that the claims of California plaintiff Butler, Massachusetts plaintiff

San Angelo, and Oklahoma plaintiffs Kyle and Valerie Johnson for breach of the implied

warranty of merchantability should be dismissed because they fail to allege that the relevant

vehicles were unmerchantable. 16

         Defendant’s argument is based upon the allegations in the ACC that plaintiffs used their

vehicles without issue for extended periods of time. Specifically, the ACC alleges that Butler

“started to notice” transmission problems “years after purchasing the vehicle.” (ACC ¶ 459). It


         14
            Plaintiffs also contend that their implied-warranty claims fall under a “thing of danger” exception to the
privity requirement. Their argument relies on Hubbard v. Gen. Motors Corp., 1996 WL 274018 (S.D.N.Y. May 22,
1996). However that case has been widely rejected, or at the very least cabined to claims involving non-economic
loss. See Cummings, 401 F. Supp. 3d at 313 (“[T]he Court agrees with the other courts that have rejected Hubbard’s
interpretation in concluding that no thing-of-danger exception exists under New York law for claims involving
purely economic injury.” (collecting cases)). This Court likewise “concludes that New York law does not include a
‘thing of danger’ exception to the privity requirement in implied warranty claims for purely economic loss.”
Evenflo, 707 F. Supp. 3d at 133.
        15
           Defendant also challenges the New York implied-warranty claims for failure to provide pre-suit notice.
Because those claims will be dismissed for lack of privity, the Court will not reach the issue.
         16
           Defendant makes the same argument as to New York plaintiff Bunger, but his implied-warranty claim
has already been deemed insufficient for lack of privity, and therefore the Court will not reach the issue as to that
plaintiff.

                                                          31
     Case 1:23-cv-10829-FDS            Document 137         Filed 03/28/25       Page 32 of 80




alleges that San Angelo “started to notice” transmission problems three years after his purchase

and after driving 78,000 miles. (Id. ¶ 174). And, as with Butler, it alleges that the Johnsons

“started to notice” transmission problems “years after purchasing the vehicle.” (Id. ¶ 524).

       As a preliminary matter, the Court has already deemed the types of symptoms alleged in

the ACC sufficient to plead a defect rendering the vehicles unmerchantable. See McCabe v.

Ford Motor Co., 720 F. Supp. 3d 14, 25 (D. Mass. 2024). The specific question, then, is whether

the delay in manifestation of symptoms impacts that determination or precludes plaintiffs from

maintaining that “the defect existed at the time the vehicle was sold or leased.” Awalt v. Gen.

Motors, LLC, 2023 WL 2743294, at *3 (D. Mass. Mar. 31, 2023); see Collins Radio Co. of

Dallas, Tex. v. Bell, 623 P.2d 1039, 1053 (Okla. Civ. App. 1980) (“To recover for a breach of the

implied warranty of merchantability[,] a plaintiff must prove . . . the goods were not

‘merchantable’ at the time of sale . . . .”). On the latter point, the Court finds that while the

symptoms of the alleged defect may not have arisen for some time, it is nonetheless plausible

that their “cause was attributable to a defect in the [vehicles] at the time of purchase.” Walsh v.

Atamian Motors, Inc., 10 Mass. App. Ct. 828, 828 (Mass. App. Ct. 1980).

       The issue then becomes whether a car can be considered unmerchantable when it

operated without issue for a period of years, or for 78,000 miles, before the complained-of

problems arose. Szymczak v. Nissan N. Am. observed that “[c]ourts . . . have consistently held

that an automobile that was driven for years without problems was merchantable and fit for its

ordinary use at the time of sale.” 2011 WL 7095432, at *11 (S.D.N.Y. Dec. 16, 2011). In Sheris

v. Nissan N. Am., the court noted that “‘[t]he weight of authority, from courts across the country,

indicates that plaintiffs may not recover for breach of the implied warranty of merchantability

under the facts’ where plaintiffs have driven their cars without problems for years.” 2008 WL



                                                  32
     Case 1:23-cv-10829-FDS            Document 137         Filed 03/28/25      Page 33 of 80




2354908, at *6 (D.N.J. June 3, 2008) (quoting In re Ford Motor Co. Ignition Switch Prods. Liab.

Litig., 2001 WL 1266317, at *22 (D.N.J. Sept. 30, 1997)). Because the named plaintiffs only

“started to notice” issues with their transmissions after years of serviceable driving, the Court

finds that their vehicles were in fact merchantable at the time of sale, and their claims for breach

of the implied warranty of merchantability under California, Massachusetts, or Oklahoma law

will be dismissed.

       D.      The Economic-Loss Rule (Applicable to Counts 5 and 7)

       Defendant next contends that the “economic loss rule” precludes the fraudulent-

misrepresentation and concealment claims asserted by the California, Florida, and Pennsylvania

plaintiffs, the fraudulent-concealment claims asserted by the Texas plaintiffs, and the FDUTPA

claims asserted by the Florida plaintiffs.

       As a general matter, “[t]he economic loss doctrine denies a tort remedy for product

defects when the loss ‘is rooted in disappointed contractual or commercial expectations.’”

American United Logistics, Inc. v. Catellus Dev. Corp., 319 F.3d 921, 926 (7th Cir. 2003) (citing

Mutual Serv. Cas. Ins. Co. v. Elizabeth State Bank, 265 F.3d 601, 615 (7th Cir. 2001)). “Not all

states have adopted the economic loss rule, and those that have vary widely in their

understanding of the doctrine’s scope. . . . While some states apply the economic loss doctrine

only in products liability cases or when it is apparent that a plaintiff in privity with the defendant

is seeking to circumvent provisions of the contract, other states apply the doctrine widely,

barring all claims in tort that fail to allege either personal injury or property damage.” Portier v.

NEO Tech. Sols., 2019 WL 7946103, at *16 (D. Mass. Dec. 31, 2019) (quoting Banknorth, N.A.

v. BJ’s Wholesale Club, Inc., 394 F. Supp. 2d 283, 287 (D. Me. 2005)), report and

recommendation adopted, 2020 WL 877035 (D. Mass. Jan. 30, 2020). Accordingly, the Court

will address the argument under each state’s law in turn.
                                                  33
     Case 1:23-cv-10829-FDS            Document 137         Filed 03/28/25       Page 34 of 80




                1.      California

        The California plaintiffs have withdrawn their claims of fraudulent misrepresentation,

and those claims will therefore be dismissed. However, they oppose dismissal of their

fraudulent-concealment claims on the basis that, at the time of briefing, the California Supreme

Court had pending before it the certified question of the economic-loss rule’s applicability to

claims of fraudulent concealment.

        The California Supreme Court has now ruled on that question. See Rattagan v. Uber

Techs., Inc., 17 Cal. 5th 1 (2024). Its opinion is summarized as follows:

        The Ninth Circuit asked: ‘Under California law, are claims for fraudulent
        concealment [as opposed to affirmative deception] exempted from the economic
        loss rule?’ This is the question the majority left open in Robinson. The answer is
        yes because, as explained, the economic loss rule does not apply to limit recovery
        for intentional tort claims like fraud. The doctrine only applies to bar tort
        recovery for negligently inflicted economic losses unaccompanied by physical or
        property damage under the limits recognized in Sheen. . . . This conclusion,
        however, does not provide the dispositive answer the Ninth Circuit has requested.

        Therefore, we have reformed the question as follows: Can a plaintiff assert an
        independent claim of fraudulent concealment in the performance of a contract?
        The answer to this question is also yes. A plaintiff may assert a tort claim for
        fraudulent concealment based on conduct occurring in the course of a contractual
        relationship, if the elements of the cause of action can be established
        independently of the parties’ contractual rights and obligations and the tortious
        conduct exposes the plaintiff to a risk of harm beyond the reasonable
        contemplation of the parties when they entered into the agreement.

Id. at 38 (citations omitted).

        To the extent there is a contract at all between plaintiffs and Ford, it is the express

warranty. That express warranty clearly contemplates a risk of harm from defective parts—

limiting coverage to harms arising from manufacturing defects, and thus disavowing coverage

for defects of design. Accordingly, to the extent plaintiffs’ fraudulent-concealment claims are

based upon harms such as repair costs or damages from the defect itself, those claims are not

“beyond the reasonable contemplation of the parties when they entered into the agreement,” and
                                                  34
     Case 1:23-cv-10829-FDS            Document 137         Filed 03/28/25      Page 35 of 80




are barred by the economic-loss doctrine. See id.

       However, the ACC also alleges that plaintiffs “relied upon Ford’s representations and

omissions regarding the quality of Class Vehicles and the defect in deciding to purchase or lease

Class Vehicles,” and absent Ford’s alleged concealment, plaintiffs “would not have purchased or

leased” the vehicles. (ACC ¶¶ 890-91). Those allegations sound in fraudulent inducement. And

it is well settled under California law that “fraudulent inducement [is] an existing exception to

the economic loss rule.” Dhital v. Nissan N. Am., Inc., 84 Cal. App. 5th 828, 841 (Cal. Ct. App.

2022) (citing Robinson Helicopter Co. v. Dana Corp., 34 Cal.4th 979, 989-90 (Cal. Ct. App.

2004)); see Rattagan, 17 Cal. 5th at 41 (“As we observed in Lazar, ‘fraudulent inducement of

contract—as the very phrase suggests—is not a context where the “traditional separation of tort

and contract law” obtains. . . . [I]t has long been the rule that where a contract is secured by

fraudulent representations, the injured party may elect to affirm the contract and sue for the

fraud.’” (alteration omitted) (quoting Lazar v. Superior Ct., 12 Cal. 4th 631, 645 (1996))).

       Thus, to the extent that the California plaintiffs’ fraudulent-concealment claims are based

on post-purchase harms, those claims will be dismissed, but to the extent they are based upon

inducement to purchase or lease the vehicles, they are not barred by the economic-loss doctrine.

               2.      Florida (Count 7)

       The Florida plaintiffs have withdrawn their claims for fraudulent misrepresentation and

omission, and those claims will therefore be dismissed. However, they maintain that the

economic-loss rule under Florida law does not preclude their FDUTPA claims.

       Tiara Condo. Ass’n, Inc. v. Marsh & McLennan Cos., Inc., 110 So.3d 399 (Fla. 2013) is

the governing Florida authority on the scope of the economic-loss doctrine. The central holding

of Tiara is “that the application of the economic loss rule is limited to products liability cases,”

retracting the rule’s previous extension to the broader “contractual privity context.” 110 So.2d at
                                                 35
     Case 1:23-cv-10829-FDS            Document 137         Filed 03/28/25       Page 36 of 80




403, 407. In arriving at that conclusion,

       [t]he Court . . . explained its attempt in Indemnity Insurance Co. of North America
       v. American Aviation, Inc., 891 So. 2d 532 (Fl. 2004), to retract its ‘unprincipled
       extension of the rule’ and limit it to its ‘original rationale and intent’ that ‘a
       manufacturer or distributor in a commercial relationship has no duty beyond that
       arising from its contract to prevent a product from malfunctioning or damaging
       itself.’ Tiara, 110 So. 3d at 406 (citing American Aviation, 891 So. 2d at 542).
       At the same time, Tiara explained, American Aviation ‘reaffirmed that in cases
       involving either privity of contract or products liability, the other exceptions to
       the economic loss rule that we have developed, such as for professional
       malpractice, fraudulent inducement, and negligent misrepresentation, or free-
       standing statutory causes of action’ remained viable and were ‘untouched’
       by American Aviation.

O’Connor, 567 F. Supp. 3d at 958. As to American Aviation, the court went on to say: “Thus,

despite our effort to roll back the economic loss rule to its products liability roots, we left

untouched a number of exceptions which continue to extend the application of the rule beyond

our original limited intent.” Tiara, 110 So.2d at 406.

       That dictum is somewhat confusing. The listed “exceptions” that were left “untouched”

were exceptions to the application of the economic-loss rule—that is, they reflected instances in

which the economic-loss rule would not apply. Therefore, those exceptions do not represent

extensions of the rule, but in fact quite the opposite—they reflect restrictions of the rule’s

application. Regardless, “[t]hese exceptions were irrelevant to the decision reached in Tiara.”

Takata, 193 F. Supp. 3d at 1338. And the main thrust of Tiara remains the restriction of the

economic-loss rule to the context of product liability, as opposed to the broader context of

contract-based relationships.

       While Tiara restricted the economic-loss rule to its roots in product liability, it also

suggested that the rule ought to be applied robustly within that sphere. The Tiara court

described the essence of the rule as a “doctrine that sets forth the circumstances under which a

tort action is prohibited if the only damages suffered are economic losses.” 110 So.3d at 401

                                                  36
     Case 1:23-cv-10829-FDS            Document 137        Filed 03/28/25      Page 37 of 80




(emphasis added). Federal courts have thus reasonably read Tiara to signal a disavowal of

exceptions to the doctrine for fraud claims. See Burns v. Winnebago Indus., Inc., 2013 WL

4437246, at *4 (M.D. Fla. Aug. 16, 2013) (“[T]he exceptions to the economic loss rule for

fraudulent inducement and negligent misrepresentations do not apply.”); Aprigliano v. Am.

Honda Motor Co., Inc., 979 F. Supp. 2d 1331, 1338 (S.D. Fla. 2013) (“Given the Tiara court’s

resounding approval of the economic loss rule in the products liability context, the Court . . .

concludes the economic loss rule bars Plaintiffs’ claim for negligent misrepresentation under the

facts alleged.”); In re Takata Airbag Prods. Liab. Litig., 193 F. Supp. 3d 1324, 1339 (S.D. Fla.

2016) (“The Court agrees with other courts in this Circuit that have concluded that Florida’s

Supreme Court did not intend to allow [fraudulent-inducement and negligent-misrepresentation]

products liability claims to survive.”).

       Barring a statutory cause of action through a judicially-created doctrine, however, is an

entirely different matter. Defendant cites to Karpel v. Knauf Gips KG, 635 F. Supp. 3d 1336

(S.D. Fla. 2022) for the proposition that Florida’s economic-loss rule bars claims under the

FDUTPA. However, this Court declines to follow Karpel on that issue.

       Karpel quotes Tiara’s observation that “the essence of the early holdings discussing the

[economic-loss] rule is to prohibit a party from suing in tort for purely economic losses.”

Karpel, 635 F. Supp. 3d at 1338 (quoting Tiara, 110 So.3d at 405). However, the court focused

on “economic losses,” without regard for the limitation to suits “in tort.” Id. at 1338-39. The

distinction between tort causes of action and those arising from statute is significant. As the

court explained in Delgado v. J.W. Courtesy Pontiac GMC-Truck, Inc., 693 So.2d 602, 608 (Fla.

Dist. Ct. App. 1997):

       [I]n administering the FDUTPA, courts do not have the right to limit and, in
       essence, to abrogate, as the trial court did in this case, the expanded remedies

                                                 37
      Case 1:23-cv-10829-FDS                 Document 137            Filed 03/28/25         Page 38 of 80




         granted to consumers under this legislatively created scheme by allowing the
         judicially favored economic loss rule to override a legislative policy
         pronouncement and to eliminate the enforcement of those remedies. . . . In sum,
         any tension between the legislative policy embodied in the FDUTPA and the
         judicial policy embodied in the economic loss rule must be resolved under the
         doctrine of the separation of powers in favor of the legislative will so long as the
         FDUTPA passes constitutional scrutiny.

Delgado, 693 So.2d at 609 (citations omitted).

         In sum, “Florida courts have consistently held that statutory causes of action are not

limited by the economic loss rule,” New Lenox Indus., Inc. v. Fulton, 510 F. Supp. 2d 893, 909

(M.D. Fla. 2007), and Tiara’s restriction and reaffirmation of the economic-loss rule’s

application to tort claims does not abrogate that principle. 17 Thus, the FDUTPA claims are not

barred by the economic-loss rule under Florida law.

                  3.       Pennsylvania

         In Werwinski v. Ford Motor Co., the Third Circuit predicted that the Pennsylvania

Supreme Court would likely not recognize an exception to the economic-loss rule for intentional

fraud. 286 F.3d 661, 674-81 (3d Cir. 2002). However, the court later abrogated Werwinski,

although only to the extent that it had held that the economic-loss doctrine precluded claims

under the UTPCPL. Earl v. NVR, Inc., 990 F.3d 310, 314 (3d Cir. 2021) (“[T]he economic loss

doctrine no longer may serve as a bar to UTPCPL claims.”). Although there were no common-

law fraud claims in Earl, the court noted that one of the Pennsylvania cases supporting its

abrogation of Werwinski acknowledged not only “the significance of the distinction between

statutory claims and tort claims,” but also between “claims grounded in negligence as opposed to

intentional misrepresentation.” Id. at 313 (referring to Knight v. Springfield Hyundai, 81 A.3d



         17
           See Comptech Int’l, Inc. v. Milam Com. Park, Ltd., 753 So.2d 1219, 1223 (Fla. 1999) (“[T]he Second,
Fourth, and Fifth District Courts of Appeal have held that statutory causes of action are not limited by the economic
loss rule. We agree.”).

                                                         38
     Case 1:23-cv-10829-FDS            Document 137         Filed 03/28/25       Page 39 of 80




940 (Pa. Super. Ct. 2013)).

       This Court will follow the approach of the Third Circuit in Werwinski: where the court is

“torn between two competing yet sensible interpretations of Pennsylvania law . . . , [it] should

opt for the interpretation that restricts liability, rather than expands it, until the Supreme Court of

Pennsylvania decides differently.” Werkwinski, 286 F.3d at 680. Thus, the Court will not find

an exception to Pennsylvania’s economic-loss doctrine for intentional fraud, and the common-

law fraud claims of the Pennsylvania plaintiffs will be dismissed.

               4.      Texas

       The Texas plaintiffs have withdrawn their fraudulent-omission claims, and those claims

will therefore be dismissed.

       E.      Claims for Fraud (Count 5)

       Count 5 alleges that Ford committed fraud by making misrepresentations about the

performance of vehicles equipped with the 10R80 transmission and by concealing material facts

concerning the alleged transmission defect. (ACC ¶¶ 886-96). Ford contends that the

fraudulent-misrepresentation claims should be dismissed because the complaint does not allege

any actionable misrepresentation or any actual reliance by plaintiffs on any specific

representations made by Ford. As to the fraudulent-concealment claims, Ford contends that the

ACC does not allege facts giving rise to a duty to disclose under the laws of the various states.

       Ordinarily, a complaint need only contain “a short and plain statement of the claim

showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). However, under Fed. R.

Civ. P. 9(b), in cases “alleging fraud or mistake, a party must state with particularity the

circumstances constituting fraud or mistake.” The basic purposes of that requirement are (1) to

give the defendants notice and enable them to prepare a meaningful response; (2) to preclude the

use of a groundless fraud claim as a pretext to using discovery as a fishing expedition; and (3) to

                                                  39
     Case 1:23-cv-10829-FDS             Document 137         Filed 03/28/25      Page 40 of 80




safeguard defendants from frivolous charges that might damage their reputations. See In re

Lupron Mktg. & Sales Pracs. Litig., 295 F. Supp. 2d 148, 170 (D. Mass. 2003) (quoting New

England Data Servs., Inc. v. Becher, 829 F.2d 286, 288 (1st Cir. 1987)).

         Under the heightened pleading requirement of Fed. R. Civ. P. 9(b), a complaint alleging

fraud must state “the who, what, where, and when” of the alleged deception. Kaufman v. CVS

Caremark Corp., 836 F.3d 88, 91 (1st Cir. 2016) (quoting Alternative Sys. Concepts, Inc. v.

Synopsys, Inc., 374 F.3d 23, 29 (1st Cir. 2004)). The requirement applies both to general claims

of fraud and also to “associated claims where the core allegations effectively charge fraud.”

North Am. Catholic Educ. Programming Found., Inc. v. Cardinale, 567 F.3d 8, 15 (1st Cir.

2009).

         Here, the ACC alleges fraud under two theories: fraudulent misrepresentation and fraud

by omission. (ACC ¶¶ 886-92). Each will be considered in turn.

                1.      Misrepresentation

         The California and Florida plaintiffs have withdrawn their fraudulent-misrepresentation

claims, and the claims of the Pennsylvania plaintiffs for fraudulent misrepresentation are

precluded by the economic-loss doctrine. All of those claims will therefore be dismissed. That

leaves the misrepresentation claims asserted under the laws of Alabama, Illinois, Massachusetts,

New York, Oklahoma, and Texas.

         The elements of a cause of action for fraudulent misrepresentation are fundamentally

identical across those states. A claim of fraudulent misrepresentation requires a plaintiff to show

that “(1) the defendant made a ‘false representation of a material fact with knowledge of its

falsity for the purpose of inducing [the plaintiff] to act thereon’; (2) the plaintiff ‘relied upon the

representation as true and acted upon it to his [or her] detriment’; and (3) such ‘reliance was

reasonable under the circumstances.’” Gattineri v. Wynn MA, LLC, 63 F.4th 71, 87-88 (1st Cir.
                                                  40
     Case 1:23-cv-10829-FDS            Document 137         Filed 03/28/25      Page 41 of 80




2023) (alterations in original) (quoting H1 Lincoln, Inc. v. S. Wash. St., LLC, 489 Mass. 1, 18

(2022)) (Massachusetts); see Smart Oil, LLC v. DW Mazel, LLC, 970 F.3d 856, 866 (7th Cir.

2020) (Illinois); Twohig v. Shop-Rite Supermarkets, Inc., 519 F. Supp. 3d 154, 165 (S.D.N.Y.

2021) (New York); CBE Grp., Inc. v. Lexington Law Firm, 993 F.3d 346, 350 (5th Cir. 2021)

(Texas); Alfa Life Ins. Corp. v. Hughes, 861 So.2d 1088, 1097 (Ala. 2003); Bowman v. Presley,

212 P.3d 1210, 1217-18 (Okla. 2009).

                       a.      Actual Reliance

       The majority of the misrepresentation claims fail because the ACC does not allege actual

reliance on the part of each plaintiff with sufficient particularity. Under Rule 9(b), a plaintiff

“must state with particularity the circumstances constituting fraud.” Fed R. Civ. P. 9(b).

Reliance is one of the “circumstances” that must be pleaded with particularity. Xia Bi v.

McAuliffe, 927 F.3d 177, 185 (4th Cir. 2019) (“Particular allegations of reliance . . . lie at the

core of Rule 9(b)’s mandate.”); Wenzel v. Sand Canyon Corp., 841 F. Supp. 2d 463, 486 (D.

Mass. 2012) (“[Plaintiffs] must also plead reliance with particularity.”)

       The ACC sets forth a large number of representations made by Ford in advertisements

and on its website, along with the broad, conclusory assertion that “[p]laintiffs and the Class

relied upon Ford’s representations and omissions regarding the quality of Class Vehicles and the

[d]efect in deciding to purchase or lease Class Vehicles.” (ACC ¶ 891). However, those

allegations are not sufficiently particularized to plead actual reliance on the part of any individual

plaintiff. See Gandhi v. Sitara Cap. Mgmt., LLC, 689 F. Supp. 2d 1004, 1012 (N.D. Ill. 2010)

(“Federal Rule of Civil Procedure 9(b)’s pleading standards . . . [require] the particulars of how

each plaintiff was defrauded and how each defendant committed fraud.” (emphases added)).

For the most part, “[t]he [c]omplaint does not allege that [particular] plaintiffs did any particular

research or reviewed Ford’s websites or advertising prior to deciding to purchase their
                                                  41
      Case 1:23-cv-10829-FDS                 Document 137            Filed 03/28/25         Page 42 of 80




[v]ehicles.” O’Connor, 567 F. Supp. 3d at 962. For the majority of plaintiffs, the ACC also fails

to “identify any conversations that [the particular] plaintiffs had with any Ford representatives.”

Id. Where the ACC fails to make any such allegations as to a particular plaintiff, that plaintiff’s

claim for fraudulent misrepresentation will be dismissed. 18

          Texas plaintiff Smith is the only plaintiff as to whom there is a specific allegation of

individual reliance upon an identified representation made by Ford. 19 The ACC alleges that

Smith “encountered several Ford television commercials that touted the safety, reliability and

enhanced towing capabilities of the [v]ehicle because of its 10-speed [t]ransmission.” (ACC

¶ 366).

          However, those representations are too generalized to be actionable. As a preliminary

matter, the ACC nowhere alleges that the 10R80 does not in fact have “enhanced towing

capabilities.” Therefore, the only allegedly false representations concern the transmission’s

“safety” and “reliability.” As described in the Court’s prior order, “[a]djectives such as



          18
             See In re Fyre Festival Litig., 399 F. Supp. 3d 203, 217 (S.D.N.Y. 2019) (“Because there is no assertion
that any plaintiff saw, read, or otherwise noticed Atkins’ April 27, 2017 Tweet, there is no allegation that there was
‘actual reliance’ at all.”); Webb v. Volvo Cars of N.A., LLC, 2018 WL 1470470, at *6 (E.D. Pa. Mar. 26, 2018)
(dismissing claim where plaintiff “does not at any time allege a single actual representation made by Volvo that she
justifiably relied on”); Deburro v. Apple, Inc., 2013 WL 5917665, at *4 (W.D. Tex. Oct. 31, 2013) (dismissing
claim where “plaintiffs do not plead they personally saw any of the press releases quoted in the Second Amended
Complaint”); Connick v. Suzuki Motor Co., 174 Ill. 2d 482, 497 (1996) (affirming dismissal where plaintiffs alleged
that “Suzuki made fraudulent misrepresentations in magazine advertisements” but “the complaint fails to state
which, if any, of the plaintiffs heard these representations and relied on them”); Kaufman v. Wyeth Co., 2011 WL
10483568, at *3 (S.D. Fla. Apr. 12, 2011) (dismissing fraudulent misrepresentation claim where “although Kaufman
identifies two advertisements, one starring Patti LaBelle and one starring Lauren Hutton, she fails to identify the
specific celebrity advertisement she saw”); Deleon v. Gen. Motors LLC, 2023 WL 9319286, at *2 (C.D. Cal. Dec.
20, 2023) (dismissing fraud claim where “although the FAC is filled with statements GM made in press releases and
advertisements from 2015 through the 2021 recall notice, it is not clear which of these statements Plaintiff himself
saw or on which he allegedly relied”); Zetz v. Bos. Sci. Corp., 398 F. Supp. 3d 700, 714 (E.D. Cal. 2019) (dismissing
fraud claims where plaintiff failed to “identif[y] a specific advertisement that either he or his physician viewed”);
Bradshaw v. Uber Techs., Inc., 2017 WL 2455151, at *8 & n.4 (W.D. Okla. June 6, 2017) (dismissing fraud claim
based on alleged misrepresentations that “were made to third parties” and where plaintiff “fails to allege that as a
driver he relied on promotional material directed to riders”).
       19
          The same is true of the claims of Texas plaintiff Garza and Oklahoma plaintiffs Todd and Julie Haworth.
However, their claims have been stayed pending arbitration.

                                                         42
     Case 1:23-cv-10829-FDS            Document 137         Filed 03/28/25      Page 43 of 80




improved,’ ‘innovative,’ ‘optimized,’ and ‘enhanced,’ . . . at least in this context, neither state a

fact that can be proved to be true or false, nor suggest to the reader that there are underlying facts

that are inconsistent with those claims,” and thus constitute non-actionable “puffery.” McCabe,

720 F. Supp. 3d at 28. And “general statements about big-picture concepts such as trust,

security, reputation, and safety” are also “non-actionable puffery.” Costa v. FCA U.S., LLC, 542

F. Supp. 3d 83, 101 (D. Mass. 2021); see Diais v. Land Rover Dallas, L.P., 2016 WL 129832, at

*4 (Tex. App. Apr. 4, 2016) (“[Plaintiff] cannot rely on Land Rover’s statements that the car was

the most luxurious, rugged vehicle, with a supercharged, high performance engine because such

statements involve mere opinion or puffery.”)

       While the Court previously held that descriptions of the transmission as “smooth” and

“quick” were sufficiently concrete in the context of transmissions to sustain a claim, the ACC

does not allege that Smith relied on any such representations. Instead, he was exposed to

advertisements “touting” the “safety” and “reliability” of the 10R80. Those representations are

“obviously so vague as to lack any discernable meaning,” such that “plaintiff cannot plausibly

show either that the statement[s] [are] false or that [he] reasonably relied on [them].” O’Connor,

567 F. Supp. 3d at 962 n.6.

                               i.      Whether Dealerships are Agents of Ford

       The remaining representations allegedly made to individual plaintiffs came from

employees of Ford dealerships. Some of those representations may be sufficiently particular to

satisfy Rule 9(b); however, they can be attributed to Ford only if the dealerships were acting as

Ford’s agents.

       The essential elements of an agency relationship are “(1) the agent’s power to alter the

legal relationships between the principal and third parties; (2) a fiduciary relationship toward the

principal regarding matters within the scope of the agency; and (3) the principal’s right to control
                                                  43
     Case 1:23-cv-10829-FDS            Document 137        Filed 03/28/25    Page 44 of 80




the agent’s conduct in matters within the scope of the agency.” CNE Direct, Inc. v. Blackberry

Corp., 821 F.3d 146, 150 (1st Cir. 2016).

       Where an allegation of an agency relationship is integral to an allegation of fraud, such

that both rely upon the same facts, the agency relationship should be evaluated under the

heightened standard of Rule 9(b). Lachmund v. ADM Investor Servs., Inc., 191 F.3d 777, 783

(7th Cir. 1999) (“[W]hen the plaintiff relies upon the same circumstances to establish both the

alleged fraud and the agency relationship of a defendant, the reasons for more particularized

pleading that animate Rule 9(b) apply with equal force to the issue of agency and to the

underlying fraud claim.”); see Archdiocese of San Salvador v. FM Int’l, LLC, 2006 WL 437493,

at *8-9 (D.N.H. 2006) (analyzing allegations of principal-agent relationship according to

heightened standard of Rule 9(b)); cf. Gunderson v. ADM Investor Servs., Inc., 230 F.3d 1363

(table), 2000 WL 1154423, at *3 (8th Cir. Aug. 16, 2000) (assuming, without deciding, that Rule

9(b) applied to the pleading of agency relationship); but see Holloway v. Oxygen Media, LLC,

361 F. Supp. 3d 1213, 1222-23 (N.D. Ala. 2019) (applying Rule 9(b) standard to alleged

fraudulent statement made by agents but analyzing under Rule 12(b)(6) standard whether agent-

principal relationship allowed for attribution of statement to principal).

       In any event, the ACC fails to allege facts sufficient to allege an agency relationship even

in the absence of a heightened pleading standard. Dealerships are not automatically considered

agents of automobile manufacturers, despite the use of terms such as “authorized dealership.”

See Acevedo v. DMAX Ltd., 2015 WL 12696176, at *28 (C.D. Cal. Nov. 13, 2015) (holding that

“authorized independent dealerships” were not agents of General Motors despite allegedly

identical branding of dealerships and the training support General Motors provided to dealerships

to ensure “standardized brand experience”); Herremans v. BMW of N. Am., LLC, 2014 WL



                                                 44
      Case 1:23-cv-10829-FDS                Document 137            Filed 03/28/25         Page 45 of 80




5017843, at *6-7 (C.D. Cal. Oct. 3, 2014) (holding that statements of authorized dealership

concerning repairs made to vehicle could not be attributed to manufacturer under agency theory);

Theo & Sons, Inc. v. Mack Trucks, Inc., 431 Mass. 736, 746 (2000) (holding that use of

manufacturer’s logo on dealer’s signs and invoices did not create genuine issue of material fact

as to whether dealer acted with apparent authority); Malmberg v. American Honda Motor Co.,

Inc., 644 So.2d 888, 891 (Ala. 1994) (holding that evidence of Honda logos displayed on signs,

literature, products, brochures, and dealership itself was alone insufficient to establish agency

relationship). 20 At a minimum, something more is required.

        Here, the ACC does not even expressly allege that authorized dealers are agents of Ford,

and in fact refers to “dealers” and “agents” separately throughout the pleading. (See ACC ¶¶ 19,

721, 741, 753, 824-25, 874). Plaintiffs only contend that the dealers are agents in their

memorandum of opposition. (Opp. at 35-36). There, plaintiffs assert that they “specifically

plead[ed] that Ford compensates and instructs authorized dealers regarding TSBs for the

transmissions as well as what to tell [c]lass [m]embers regarding the transmission . . . [; and]

implemented policies at its authorized dealerships to discourage [c]lass members from obtaining

inspections and repairs for their transmissions.” (Id.) (citing ACC ¶¶ 22-23, 742, 754). But the

portions of the ACC cited do not allege a principal-agent relationship between Ford and the

authorized dealers. Mere compensation is indicative of nothing beyond a standard contractual

relationship. And while the ACC characterizes Ford’s TSBs and SSMs as “directions” and


          20
             Under certain circumstances, an agency relationship may be inferred between a dealership and
manufacturer, but such an inference depends on the specific facts demonstrating such a relationship. See Baranco v.
Ford Motor Co., 294 F. Supp. 3d 950, 975 (N.D. Cal. 2018) (holding that evidence that Ford had issued repair
instructions to dealerships and required dealers to submit data regarding repairs supported plausible inference that
dealership acted as agent of manufacturer); O’Neil v. DaimlerChrysler Corp., 538 F. Supp. 2d 304, 315 (D. Mass.
2008) (finding that testimony of manufacturer’s customer relationship manager stating that manufacturer used
dealerships to interact with customers supported inference that dealership was agent of manufacturer for purposes of
selling service contracts and performing warranty work). Here, however, no such specific facts are alleged
concerning the relationship between Ford and the authorized dealers.

                                                        45
     Case 1:23-cv-10829-FDS                 Document 137           Filed 03/28/25        Page 46 of 80




“instructions,” there are no allegations that dealerships are in any way contractually or legally

obligated to follow TSBs or SSMs. As suggested by their names, “Technical Service Bulletins”

and “Special Service Messages” appear to be publications providing information and guidance

rather than mandatory directives. Thus, those allegations, without more, are not indicative of any

actual control exercised, or right to control held by Ford over the authorized dealers.

Furthermore, the ACC does not contain any allegations suggesting an intent on the part of either

Ford or the dealers to enter into a fiduciary relationship.

       In sum, the ACC does not allege that dealerships are Ford’s agents, and it contains no

facts that would suggest such a relationship exists between the parties, let alone particularized

allegations that might suffice to survive the pleading requirements of Rule 9(b). Therefore, the

dealerships are not alleged to be Ford’s agents, and, in turn, the representations made by

dealership employees cannot be imputed to Ford. To the extent that the complaint relies upon

such allegations to support claims for fraudulent misrepresentation, those claims will be

dismissed.

       The only fraudulent-misrepresentation claim that remains is that of Massachusetts

plaintiff Pollack. 21 In its order on defendant’s previous motion to dismiss, the Court declined to

dismiss Pollack’s fraudulent-misrepresentation claim, finding that the complaint had “allege[d]

that plaintiff[] reasonably relied on [the representations in Ford’s advertisements] when

purchasing [his] . . .vehicle[].” McCabe, 720 F. Supp. 3d at 30. For the reasons outlined above,

the Court has reason to doubt whether the ACC sufficiently pleads actual reliance by Pollack on

any particular, actionable representation. Defendant, however, does not now seek dismissal of

his fraudulent-misrepresentation claim, in light of the Court’s earlier order. (See Def. Mem. at


       21
            The claims of Massachusetts plaintiffs McCabe and Wright have been stayed pending arbitration.

                                                        46
     Case 1:23-cv-10829-FDS           Document 137        Filed 03/28/25     Page 47 of 80




37 n.22) (“While Ford believes this basis for dismissal is equally applicable to Massachusetts

Plaintiffs McCabe, Pollack, and Daniel Wright, Ford is not seeking dismissal of their claims due

to the Court’s holding sustaining the claims in the MTD Order.”). The Court will not revisit that

issue sua sponte and will instead give defendant an opportunity to file a renewed motion to

dismiss as to Pollack, so that any such decision may be rendered with the benefit of full briefing

and argument.

                2.    Fraudulent Concealment

       The Texas and Florida plaintiffs have withdrawn their fraudulent-concealment claims,

and those claims will accordingly be dismissed. Defendant does not challenge the fraudulent-

concealment claims of the California plaintiffs. The Court’s reasoning in its prior dismissal of

the fraudulent-concealment claims of the other Massachusetts plaintiffs applies equally to

Massachusetts plaintiff San Angelo; accordingly, San Angelo’s fraudulent-concealment claim

will also be dismissed. And the Pennsylvania plaintiffs’ fraudulent-concealment claims are

precluded by Pennsylvania’s economic-loss doctrine. That leaves the fraudulent-concealment

claims of the Alabama, Illinois, New York, and Oklahoma plaintiffs.

       Some states refer to fraudulent concealment as “fraud by omission” or, in the case of

Alabama, “suppression.” In any event, to state such a claim, each state’s law requires a plaintiff

to show that the defendant “intentionally induce[d] a false belief through the concealment of a

material fact while under a duty to speak.” Nartey v. Franciscan Health Hosp., 2 F.4th 1020,

1026 (7th Cir. 2021) (Illinois); see Fed. Deposit Ins. Corp. v. Murex, LLC, 500 F. Supp. 3d 76,

116 (S.D.N.Y. 2020) (New York); Parsons & Whittemore Enters. Corp. v. Cello Energy, LLC,

613 F. Supp. 2d 1271, 1288 (S.D. Ala. 2009) (Alabama); Hicks v. FG Mins., LLC, 2020 WL

2104928, at *3 (E.D. Okla. May 1, 2020) (Oklahoma).

       Defendant contends that the ACC fails to state claims for fraudulent concealment under
                                                47
      Case 1:23-cv-10829-FDS                 Document 137            Filed 03/28/25          Page 48 of 80




the laws of Alabama, Illinois, New York, and Oklahoma because it fails to allege facts sufficient

to show that Ford had a duty to disclose the allegedly concealed fact. The Court will address

each state’s law in turn.

                           a.       Alabama

         Under Alabama law, a duty to disclose “can arise from a confidential relationship

between the plaintiff and the defendant, from the particular circumstances of the case, or from a

request for information, but mere silence in the absence of a duty to disclose is not fraudulent.”

Mason v. Chrysler Corp., 653 So.2d 951, 954 (Ala. 1995). The ACC does not allege a

confidential relationship between Ford and plaintiffs, and it does not allege that any plaintiff

requested information from Ford concerning the 10R80 transmission. Thus, the only potential

basis for a duty to disclose would be “the particular circumstances of the case.” Id.

         As a general matter, “[w]hen the parties to a transaction deal with each other at arm’s

length, with no confidential relationship, no obligation to disclose information arises when the

information is not requested.” Id. at 954-55. That said, “a duty to disclose may still be found

when the parties engage in an arm's length business transaction and there are special

circumstances” at play. Aliant Bank, a Div. of USAmeribank v. Four Star Invs., Inc., 244 So.3d

896, 931 (Ala. 2017). 22 However, the ACC does not allege any such special circumstances. The

mere allegation that Ford “had greater knowledge” than plaintiffs does not give rise to a duty to

disclose. See id. And Alabama courts have found substantially identical factual circumstances

insufficient to create such a duty. See Mason, 653 So.2d at 955 (finding no duty to disclose

potential need for additional repairs where plaintiffs “took their car in for repairs on several



         22
           It is not clear that the subsequent analysis is even needed, as plaintiffs purchased their vehicles from
dealers and were therefore not parties to a transaction with Ford. That further attenuates any alleged relationship
between the parties and further undermines any basis from which to derive a duty to disclose.

                                                          48
     Case 1:23-cv-10829-FDS            Document 137        Filed 03/28/25      Page 49 of 80




occasions” and “were assured by the salesman and Chrysler Corporation’s promotional material

that the car they bought would give a smooth ride”); McGowan v. Chrysler Corp., 631 So.2d

842, 844-48 (Ala. 1993) (finding no duty to disclose where plaintiff repeatedly took his car in for

repairs, only to later discover that defendant allegedly knew at the time of his purchase that the

car “had recurring defects, but represented the car as a top-of-the-line, smooth-riding luxury car,

and sold it to him without disclosing any of the problems that they [allegedly] knew existed”).

       Because Ford did not have a duty to disclose, the complaint fails to state a claim for

fraudulent concealment under Alabama law, and those claims will accordingly be dismissed.

                       b.      Illinois

       “In Illinois, a duty to disclose can arise where (1) the plaintiff and defendant are in a

fiduciary or confidential relationship; or (2) where the plaintiff places trust and confidence in the

defendant, thereby placing the defendant in a position of influence and superiority over the

plaintiff.” Rodriguez v. Ford Motor Co., 596 F. Supp. 3d 1050, 1058 (N.D. Ill. 2022) (citing

Connick v. Suzuki Motor Co., 174 Ill. 2d 482, 500 (Ill. 1996)). “The second option, the ‘special

trust relationship,’ must be ‘extremely similar to that of a fiduciary relationship.’” Id. (quoting

Benson v. Stafford, 407 Ill. App. 3d 902, 919 (Ill. App. Ct. 2010)). “In short, the defendant

accused of fraudulent concealment must exercise ‘overwhelming influence’ over the plaintiff.”

Wigod v. Wells Fargo Bank, N.A., 673 F.3d 547, 572 (7th Cir. 2012) (quoting Miller v. William

Chevrolet/GEO, Inc., 326 Ill. App. 3d 642, 657 (Ill. App. Ct. 2001)).

       Again, the ACC does not allege any facts suggesting any form of fiduciary, confidential,

or other special-trust relationship between Ford and plaintiffs. And again, the mere allegation

that Ford had greater knowledge, even substantially greater knowledge, than plaintiffs does not

give rise to a duty to disclose under Illinois law. See Rodriguez, 596 F. Supp. 3d at 1058

(“Rodriguez has not alleged any facts to show Ford’s overwhelming influence over him and the
                                                 49
     Case 1:23-cv-10829-FDS            Document 137         Filed 03/28/25      Page 50 of 80




rest of the putative class. To be sure, Ford had more knowledge than Rodriguez as to the

functionality of its vehicles and their parts. But the fact that Ford had more information than

Rodriguez does not show an overwhelming influence.”); Fleury v. Gen. Motors, LLC, 654 F.

Supp. 3d 724, 735 (N.D. Ill. 2023) (“[A] car manufacturer’s knowledge of its vehicles’ parts and

function does not establish an ‘overwhelming influence’ over the consumer.”). Thus, the ACC

fails to allege facts supporting a duty to disclose under Illinois law, and the claims of the Illinois

plaintiffs for fraudulent concealment will therefore be dismissed.

                       c.      New York

       Under New York law, “[a] duty to disclose in fraudulent concealment claims arises in

one of three circumstances: [(1)] where the parties are in a fiduciary relationship; [(2)] under the

‘special facts doctrine,’ where ‘one party possesses superior knowledge, not readily available to

the other, and knows that the other is acting on the basis of mistaken knowledge’; or [(3)] where

a party has made a partial or ambiguous statement, whose full meaning will only be made clear

after complete disclosure.” Boateng v. Bayerische Motoren Werke Aktiengesellschaft, 2022 WL

4357555, at *23 (E.D.N.Y. Sept. 20, 2022) (quoting Aaron Ferer & Sons Ltd. v. Chase

Manhattan Bank, 731 F.2d 112, 123 (2d Cir. 1984)); Brass v. Am. Film Technologies, Inc., 987

F.2d 142, 150 (2d Cir. 1993)). The ACC does not allege that the parties were in a fiduciary

relationship, and it does not cite any “partial or ambiguous statements” made by Ford upon

which plaintiffs relied. Thus, a duty to disclose could only arise under the “‘special facts

doctrine,’ where ‘one party possesses superior knowledge, not readily available to the other, and

knows that the other is acting on the basis of mistaken knowledge.’” Boateng, 2022 WL

4357555, at *23.

       As a threshold matter, the ACC does not allege that Ford knew that any particular

plaintiff was “acting on the basis of mistaken knowledge.” Id. For that reason alone, it would
                                                  50
     Case 1:23-cv-10829-FDS            Document 137         Filed 03/28/25       Page 51 of 80




appear that no duty to disclose existed under New York law. Furthermore, as observed in Vita v.

General Motors, LLC, where “design defect-related claims [are] brought against car

manufacturers” under New York law, “courts have determined that car manufacturers owed no

duty to disclose defects to consumer plaintiffs.” 2023 WL 3772530, at *2 (E.D.N.Y. June 2,

2023). The Vita court cited reasoning from Boateng and Garcia v. Chrysler Grp., 127 F. Supp.

3d 212, 237 (S.D.N.Y. 2015), indicating that a duty to disclose arising from “superior

knowledge” may only be imposed upon a seller in a direct arm’s-length transaction, not on a

manufacturer separated from the consumer by an intermediate dealer. Id. The court then

concluded:

        It is undisputed that here, as in Garcia and Boateng, GM did not engage in any
        direct transaction with FXR. Like the defendants in Garcia and Boateng, GM
        manufactured the vehicle—it did not sell the vehicle to FXR. GM and FXR “thus
        sit farther apart than ordinary seller and buyer.” Boateng, 2022 WL 4357555,
        at *24. As a result, FXR has failed to establish a relationship between it and GM
        that would give rise to a duty to disclose.

Id. Similarly, the ACC fails to establish a duty to disclose and fails to state a claim for

fraudulent concealment under New York law. Accordingly, those claims will be

dismissed.

                        d.      Oklahoma

        Under Oklahoma law, “where there is no fiduciary relationship a legal or equitable duty

to disclose all material facts may arise out of the situation of the parties, the nature of the subject

matter of the contract, or the particular circumstances surrounding the transaction.” Sutton v.

David Stanley Chevrolet, Inc., 475 P.3d 847, 854 (Okla. 2020). Again, the particular

circumstances alleged in the ACC do not give rise to a duty to disclose. “[N]o duty to speak

arises where the circumstances of the relationship [are] merely pursuant to an arms-length

commercial transaction.” Morgan v. Sewell, 2024 WL 1771029, at *8 (S.D. Miss. Apr. 24,


                                                  51
     Case 1:23-cv-10829-FDS           Document 137         Filed 03/28/25      Page 52 of 80




2024) (citing Silver v. Slusher, 770 P.2d 878, 882 n.11 (Okla. 1988)). As noted, Ford was not a

direct party to plaintiffs’ transactions, and the ACC does not allege facts plausibly establishing a

principal-agent relationship between Ford and the dealers such that statements or omissions

made by dealer employees may be attributed to Ford.

       However, Oklahoma law “permits recovery in certain circumstances even though a party

initially has no duty to speak.” CashCall, Inc. v. BancFirst, 2016 WL 9559037, at *5 (W.D.

Okla. Dec. 15, 2016). “If a party volunteers to convey information that may influence the

conduct of another, in those instances, that party has a duty to convey the whole truth, and if it

does not, it may be held liable.” Id. On that basis, the court in Hampton v. General Motors, LLC

found that a car manufacturer had a duty to disclose where the plaintiff alleged that “he spoke

about the vehicle with a sales representative at [an authorized dealership] at a time when GM had

knowledge of the . . . [d]efect . . . [, and] [b]y disclosing some information about the vehicle, GM

arguably had a duty to disclose the . . . [d]efect.” 631 F. Supp. 3d 1041, 1049 (E.D. Okla. 2022).

However, the court did not consider whether the complaint had sufficiently alleged that dealers

were agents and made its finding by treating the dealer’s conduct as GM’s. By treating

manufacturers as dealers, the court improperly concluded that the manufacturer had a direct

buyer-seller relationship with the ultimate consumer. While Oklahoma recognizes a duty to

disclose in relatively broad non-fiduciary circumstances, it has not imposed such a duty upon a

party that was not either in a direct buyer-seller relationship or otherwise engaged in direct

contractual negotiations with the alleged victim. Neither of those circumstances reflects the

relationship here between Ford and the Oklahoma plaintiffs.

       The ACC fails to allege “peculiar circumstances” that would give rise to a duty to

disclose under Oklahoma law. See Myklatun v. Flotek Indus., Inc., 734 F.3d 1230, 1236 (10th



                                                 52
     Case 1:23-cv-10829-FDS           Document 137        Filed 03/28/25      Page 53 of 80




Cir. 2013). As a result, it fails to state a claim for fraudulent concealment under Oklahoma law,

and those claims will accordingly be dismissed.

       F.      State Consumer-Protection Law Claims (Counts 6-16)

               1.      Alabama (Count 8)

       Defendant contends that “by virtue of their affirmative assertion of common law fraud

claims, the Alabama Plaintiffs, under Alabama law, have procedurally waived their right to

pursue claims under the ADTPA.” (Def. Mem. at 48).

       The ADTPA provides: “The civil remedies provided herein and the civil remedies

available at common law, by statute or otherwise, for fraud, misrepresentation, deceit,

suppression of material facts or fraudulent concealment are mutually exclusive.” Ala. Code.

§ 8-19-15(a). “An election to pursue the civil remedies prescribed in this chapter shall exclude

and be a surrender of all other rights and remedies available at common law,” and “an election to

pursue any civil remedies available at common law, by statute or otherwise, . . . arising out of

any act, occurrence or transaction actionable under this chapter shall exclude and be a surrender

of all rights and remedies available under this chapter.” Id. § 8-19-15(a)-(b).

       While the savings clause clearly precludes recovery under both the ADTPA and common

law, and even limits plaintiffs’ ability to “pursue” such claims simultaneously, defendant

contends that it also bars plaintiffs from pleading ADTPA and common-law fraud claims in the

alternative. “[T]here is a split among the district courts sitting within the Eleventh Circuit—and

even within the Northern District of Alabama—over whether a plaintiff may simultaneously

[plead] common law fraud claims and claims under ADTPA.” Morris v. Walmart, Inc., 2020

WL 470287, at *6 (N.D. Ala. Jan. 29, 2020). The Court will align itself with those courts that

find simultaneous pleading permissible.

       Federal courts apply federal rules to matters of procedure. See Hanna v. Plumer, 380

                                                53
     Case 1:23-cv-10829-FDS            Document 137        Filed 03/28/25      Page 54 of 80




U.S. 460, 465 (1965). And “the right to plead alternative, or even inconsistent, claims is not a

matter of substance; it is a quintessential matter of procedure.” In re Gen. Motors, LLC Ignition

Switch Litig., 257 F. Supp. 3d 372, 405-06 (S.D.N.Y. 2017). Rule 8(d)(3) provides that “[a]

party may state as many separate claims or defenses as it has, regardless of consistency.” Fed. R.

Civ. P. 8(d)(3). And “it is a well-settled rule of federal procedure that plaintiffs may assert

alternative and contradictory theories of liability.” Adinolfe v. United Techs. Corp., 768 F.3d

1161, 1175 (11th Cir. 2014).

       In Holmes v. Behr Process Corp., the court found that a complaint could not plead

ADTPA and common-law fraud claims in the alternative, because to do so “would enlarge the

substantive right and remedy of the ADTPA” in contravention of Hanna. 2015 WL 7252662, at

*3 (N.D. Ala. Nov. 17, 2015). That is clearly not the case. To allow a plaintiff to recover under

both theories of liability would indeed be a federal incursion into the state’s prerogative to limit

the substantive remedy afforded under the ADTPA. However, merely allowing both theories to

be pleaded does not determine the outcome of the case, threaten neglect of the state’s remedial

limitation, or have any impact on the ultimate rights afforded under the statute. Furthermore,

“although the plain language of the savings clause requires a plaintiff to elect one or the other

remedy, it does not specify when in the proceedings the plaintiff must do so.” In re Gen. Motors

LLC Ignition Switch Litig., 257 F. Supp. 3d at 405 (emphasis in original). Thus, while the Court

must require an election of remedies at some relatively early point in the proceeding, it is not

required to do so at the pleading stage.

       Accordingly, the Court will not dismiss plaintiffs’ ADTPA claims on the ground that they

have been procedurally waived.




                                                 54
      Case 1:23-cv-10829-FDS             Document 137      Filed 03/28/25      Page 55 of 80




                2.      California (Counts 13 and 14)

                        a.      Consumer Legal Remedies Act (“CLRA”) (Count 13)

        “The California Consumer Legal Remedies Act (CLRA) ‘proscribes particular unfair

methods of competition and unfair or deceptive acts or practices in transactions for the sale or

lease of goods or services to consumers.’” Taleshpour v. Apple. Inc., 2022 WL 1577802, at *1

(9th Cir. May 19, 2022) (quoting Rutledge v. Hewlett-Packard Co., 238 Cal. App. 4th 1164,

1172 (Cal. Ct. App. 2015)). “To state a claim under the CLRA, a plaintiff generally must allege

a misrepresentation, reliance, and damages.” Doe v. Epic Games, Inc., 435 F. Supp. 3d 1024,

1046 (N.D. Cal. 2020). “A plaintiff can state a claim under the CLRA by alleging either an

affirmative misrepresentation or a failure to disclose.” Id. Plaintiffs’ CLRA claims are subject to

the heightened pleading standard of Rule 9(b) because they “sound in fraud.” Kearns v. Ford

Motor Co., 567 F.3d 1120, 1125 (9th Cir. 2009); Brown v. Madison Reed, Inc., 2023 WL

8613496, at *1 (9th Cir. Dec. 13, 2023).

        For the reasons stated above, the ACC does not sufficiently plead reliance to sustain a

misrepresentation-based CLRA claim. However, the ACC also alleges a violation of the CLRA

on the basis of a failure to disclose.

        In California, a duty to disclose “‘arises in four circumstances: (1) when the defendant is

in a fiduciary relationship with the plaintiff; (2) when the defendant had exclusive knowledge of

material facts not known to the plaintiff; (3) when the defendant actively conceals a material fact

from plaintiff; or (4) when the defendant makes partial representations but also suppresses some

material facts.’” Barrett v. Apple Inc., 523 F. Supp. 3d 1132, 1149 (N.D. Cal. 2021) (quoting In

re Apple In-App Purchase Litig., 855 F. Supp. 2d 1030, 1039 (N.D. Cal. 2012)). The ACC does

not allege that a fiduciary relationship existed, and does not cite any partial representations by

Ford. Nevertheless, the Court agrees with the finding in O’Connor that the circumstances

                                                 55
      Case 1:23-cv-10829-FDS                 Document 137             Filed 03/28/25         Page 56 of 80




alleged track those alleged in Falk v. Gen. Motors Corp., 496 F. Supp. 2d 1088 (N.D. Cal. 2007)

closely enough “to allow the CLRA claim to go forward.” O’Connor, 567 F. Supp. 3d at 971.

         As in Falk, while it “is true that prospective purchasers, with access to the Internet, could

have read the many complaints about the [transmission defect],” Ford is “alleged to have known

a lot more about the defective [transmission], including information unavailable to the public.”

Falk, 496 F. Supp. 2d at 1097. Furthermore, as in Falk, despite allegedly receiving a large

number of complaints about the 10R80 over the course of multiple years, Ford “never made any

attempt to notify other customers or effect a recall” and published TSBs downplaying the issue

suggesting that ford “tried to gloss over the problems.” Id. Thus, Ford plausibly had a duty to

disclose under California law.

         And in the context of a violation based upon an allegedly fraudulent omission, “the Rule

9(b) standard is somewhat relaxed because a plaintiff cannot plead either the specific time of an

omission or the place, as he is not alleging an act, but a failure to act.” Clark v. Am. Honda

Motor Co., Inc., 528 F. Supp. 3d 1108, 1122-23 (C.D. Cal. 2021). 23 Nevertheless, a complaint

must allege actual reliance on an omission to state a claim. “A plaintiff may do so by simply

proving ‘that, had the omitted information been disclosed, one would have been aware of it and

behaved differently.’” Daniel v. Ford Motor Co., 806 F.3d 1217, 1225 (9th Cir. 2015) (quoting

Mirkin v. Wasserman, 5 Cal. 4th 1082, 1093 (Cal. 1993)). “That one would have behaved

differently can be presumed, or at least inferred, when the omission is material.” Id. “A

misrepresentation is judged to be ‘material’ if ‘a reasonable man would attach importance to its

existence or nonexistence in determining his choice of action in the transaction in question,’ and



         23
           It is important to note that “[t]he omissions analysis differs from affirmative misrepresentation principles
where reliance requires the consumer to have seen or read the misrepresentation.” Baranco v. Ford Motor Co., 294
F. Supp. 3d 950, 967 (N.D. Cal. 2018).

                                                          56
      Case 1:23-cv-10829-FDS                 Document 137            Filed 03/28/25         Page 57 of 80




as such materiality is generally a question of fact unless the ‘fact misrepresented is so obviously

unimportant that the jury could not reasonably find that a reasonable man would have been

influenced by it.’” Engalla v. Permanente Med. Grp., Inc., 15 Cal. 4th 951, 977 (Cal. 1997)

(citations omitted). Here, the alleged transmission defects, purportedly leading to shifting

problems and loss of power at speed, are not “obviously unimportant,” and thus at the very least

plausibly material.

         The question that remains, then, is whether the complaint sufficiently pleads that

plaintiffs “would have been aware” of any remedial disclosure made by Ford. Daniel, 806 F.3d

at 1225. The court in Daniel found “evidence that [plaintiffs] interacted with and received

information from sales representatives at authorized Ford dealerships prior to purchasing” their

vehicles was “sufficient to sustain a factual finding that Plaintiffs would have been aware of the

disclosure if it had been made through Ford's authorized dealerships.” Id. at 1226; see also

Baranco v. Ford Motor Co., 294 F. Supp.3d 950, 967-68 (N.D. Cal. 2018) (“Though [plaintiff]

does not specifically allege that she received information or promotional information from

Ford . . . , the Court can plausibly draw an inference in her favor that she could have received

such information had Ford publicized the defect through the dealer.”). 24

         In sum, the ACC alleges facts sufficient to assert a duty to disclose under California law,

the materiality of the alleged omission, and the plausible channel through which the concealed

information could have been disclosed. Thus, making all inferences in plaintiffs’ favor, the ACC

plausibly states a claim for violation of the CLRA based on a failure to disclose.




         24
            Without more, the fact that Ford might be able to publicize particular information through a dealership
does not render the dealership an agent of Ford.

                                                         57
     Case 1:23-cv-10829-FDS           Document 137         Filed 03/28/25     Page 58 of 80




                          b.   Unfair Competition Law (“UCL”) (Count 14)

        The claims of the California plaintiffs under the UCL will be dismissed because the ACC

fails to plead that they lack an adequate remedy at law.

        “The UCL provides only for equitable remedies” and is “generally limited to injunctive

relief and restitution.” Hodge v. Superior Ct., 145 Cal. App. 4th 278, 284 (Cal. Ct. App. 2006).

“Federal courts must apply equitable principles derived from federal common law to claims for

equitable restitution under California’s Unfair Competition Law,” including “the principle

precluding courts from awarding equitable relief when an adequate legal remedy exists.” Sonner

v. Premier Nutrition Corp., 971 F.3d 834, 837, 842 (9th Cir. 2020). In Guzman v. Polaris Indus.,

Inc., the court held that “because [plaintiff] had an adequate legal remedy in his time-barred

CLRA claim, the district court lacked equitable jurisdiction to hear [his] UCL claim.” 49 F.4th

1308, 1313 (9th Cir. 2022). Here, the California plaintiffs have an adequate legal remedy in their

CLRA and common-law fraudulent-concealment claims for damages. And while alternative

pleading is allowed, the ACC does not contain even a bare allegation that plaintiffs lack an

adequate remedy at law.

        However, the procedural postures in Sonner and Guzman were significantly different than

here. Sonner considered dismissal of a UCL claim “on the brink of trial.” 971 F.3d at 837.

Guzman considered dismissal of a UCL claim at summary judgment. 49 F.4th at 1310. Here,

the court is faced with the question of whether to retain jurisdiction over UCL claims at the

initial pleading stage.

        Prior to Sonner and Guzman, California federal district courts were split “on the issue of

whether it is appropriate to dismiss UCL claims at the pleading stage when they are based on

identical facts as other claims providing the legal remedy of damages.” Eason v. Roman Cath.

Bishop of San Diego, 414 F. Supp. 3d 1276, 1282 (S.D. Cal. 2019). Courts allowing UCL claims
                                                58
     Case 1:23-cv-10829-FDS            Document 137        Filed 03/28/25       Page 59 of 80




to proceed have primarily relied upon the general rule allowing claims to be pleaded in the

alternative, and a recognition that, in the particular circumstances of the cases before them,

“[d]iscovery may reveal that [plaintiffs’] claims providing legal remedies are inadequate.”

Wildin v. FCA U.S., LLC, 2018 WL 3032986, at *7 (S.D. Cal. June 19, 2018). While it is true

that equitable and legal claims may be pleaded in the alternative, “alternate claims must also be

adequately pl[eaded].” Azizpour v. Lowe’s Home Centers, LLC, 2024 WL 1349650, at *6 (S.D.

Cal. Mar. 29, 2024). And “[w]hile Federal Rule of Civil Procedure 8 provides general

permission for plaintiffs to pursue alternative claims, it does not alter or limit Sonner's holding or

the underlying principles of federal equitable jurisdiction.” EpicentRx, Inc. v. Carter, 2023 WL

4339679, at *4 (S.D. Cal. May 10, 2023).

       Here, “[p]laintiffs do not assert that they have pleaded that their legal remedies are

inadequate or explained how equitable relief they seek in this case would redress an injury that

damages would not.” Azizpour, 2024 WL 1349650, at *6. As the Court will address later,

plaintiffs cannot be awarded the non-monetary equitable remedies requested in the complaint.

And while Sonner considered a late-stage dismissal, it was still a dismissal based on the

insufficiency of a complaint. 971 F.3d at 844 (“[T]he operative complaint does not allege that

Sonner lacks an adequate legal remedy.”). Furthermore, while not precedential, the Ninth

Circuit found a district court’s dismissal of a UCL claim at the pleading stage appropriate where

“[p]laintiffs were obligated to allege that they had no adequate legal remedy in order to state a

claim for equitable relief” and failed to do so. In re Apple Processor Litig., 2023 WL 5950622,

at *2 (9th Cir. Sept. 13, 2023).

       Accordingly, because the court lacks equitable jurisdiction over the UCL claims, those

claims will be dismissed. And while it is not clear how plaintiffs could plausibly assert the



                                                 59
      Case 1:23-cv-10829-FDS                Document 137            Filed 03/28/25         Page 60 of 80




absence of an adequate legal remedy, the Court will follow Guzman and dismiss the UCL claims

without prejudice. See Guzman, 49 F.4th at 1314-15 (holding that because the district court did

not dismiss the claim on its merits and it is possible that plaintiffs could refile the claim in state

court, dismissal ought to be without prejudice.) 25

                 3.       Florida (Count 7)

        Defendant contends that the claim of Florida plaintiff Klontz under the FDUTPA fails to

comply with the territoriality requirement of the statute, as the complaint does not allege that he

purchased his vehicle in Florida.

        The FDUTPA “seeks to prohibit unfair, deceptive and/or unconscionable practices which

have transpired within the territorial boundaries of” Florida. Millenium Commc’ns &

Fulfillment, Inc. v. Off. of Att’y Gen., Dep’t of Legal Affs., State of Fla., 761 So.2d 1256, 1262

(Fla. Dist. Ct. App. 2000). Thus, the “FDUTPA applies only to actions that occurred within the

state of Florida.” Five for Ent. S.A. v. Rodriguez, 877 F. Supp. 2d 1321, 1330 (S.D. Fla. 2012).

        Thus, to state a claim under the FDUTPA, a complaint must allege with “sufficient

specificity . . . the location of the conduct giving rise to the FDUTPA claim.” Id. As to plaintiff

Klontz, the ACC does not do so. Klontz contends that while the complaint does not allege that

he purchased his vehicle in Florida, the territoriality requirement might still be satisfied “so long

as sufficient conduct occurred in Florida—e.g., driving of the [v]ehicle in Florida, experiencing

malfunctions related to the [d]efect in Florida.” (Opp. at 48). Even if such allegations would

constitute “conduct giving rise to” the claim, that does not save the claim here, as no such

allegations are made in the ACC. Furthermore, there are no allegations suggesting that Ford


        25
           It is worth noting why alternative pleading was allowed for the ADTPA and not the UCL. In the
ADTPA context, the alternatively pleaded claims both seek remedies at law, and thus the controlling federal rule is
Rule 8’s permission to plead claims in the alternative. In the UCL context, the alternatively pleaded claims are
equitable and legal, and thus federal principles of equity jurisdiction control.

                                                        60
      Case 1:23-cv-10829-FDS                Document 137           Filed 03/28/25         Page 61 of 80




made representations to Klontz in Florida, that Ford made any decisions related to the

transmissions in Florida, or that Ford manufactured, designed, or tested any transmissions in

Florida.

        Because the complaint fails to allege any conduct occurring in Florida giving rise to the

FDUTPA claim of plaintiff Klontz, that claim will be dismissed.

                   4.     Illinois (Count 9)

        “The ICFA prohibits unfair or deceptive acts or practices . . . in the conduct of trade or

commerce.” O’Connor v. Ford Motor Co., 477 F. Supp. 3d 705, 717-18 (N.D. Ill. 2020). The

ACC alleges that Ford violated the ICFA by engaging in deceptive conduct in the form of

misrepresentations and omissions concerning the alleged 10R80 defect. (ACC ¶¶ 957-59).

“Where an ICFA claim rests on allegations of deceptive conduct, Rule 9(b) applies and the

plaintiff must plead with particularity the circumstances constituting fraud.” O’Connor, 477 F.

Supp. at 718. 26

        To state a deceptive-act claim under the ICFA, a plaintiff must show that “the deceptive

act proximately caused any damages.” De Bouse v. Bayer, 235 Ill. 2d 544, 550 (Ill. 2009). “[T]o

maintain an action under the [ICFA], the plaintiff must actually be deceived by a statement or

omission that is made by the defendant. If a consumer has neither seen nor heard any such

statement, then she cannot have relied on the statement and, consequently, cannot prove

proximate cause.” Id. at 555. As previously discussed, the ACC does not allege that any Illinois

were actually exposed to any representations from Ford (as opposed to dealership salespeople).

Thus, the complaint fails to establish the proximate cause necessary to state misrepresentation-


        26
           Despite the inclusion of the word “unfair” in the ACC, the ICFA claims are properly interpreted as
deceptive-practices claims subject to the heighted Rule 9(b) pleading requirement. See O’Connor, 477 F. Supp. at
720 (“The addition of ‘unfairness’ language does not change an ICFA claim that is ‘entirely grounded in fraud’ to an
unfairness claim.” (citations omitted)).

                                                        61
      Case 1:23-cv-10829-FDS            Document 137         Filed 03/28/25       Page 62 of 80




based ICFA claims.

        And “[u]nder the ICFA, an ‘omission’ is an omission from a communication, rather than

a general failure to disclose.” Darne v. Ford Motor Co., 2017 WL 3836586, at *10 (N.D. Ill.

Sept. 1, 2017). “If there has been no communication with the plaintiff, there have been no

statements and no omissions.” De Bouse, 235 Ill. 2d at 555. As in O’Connor, “[h]ere,

[p]laintiff[s] do[] not identify any particular direct statements from defendant that contain

material omissions . . . [; and] [f]or that reason, [p]laintiff[s] also fail[] to state an ICFA claim

based on a ‘material omission’ theory.” 477 F. Supp. 3d at 720 (emphasis added).

        Accordingly, the ICFA claims will be dismissed.

                 5.     Massachusetts (Count 6)

        “The SJC has clearly articulated the standard that if a Chapter 93A claim is ‘derivative

of’ other claims which fail as a matter of law, the Chapter 93A claim ‘must also fail.’” Gattineri

v. Wynn MA, LLC, 93 F.4th 505, 511 (1st Cir. 2024) (quoting Park Drive Towing, Inc. v. City of

Revere, 442 Mass. 80, 85-86 (2004)); see also Cameron v. FCA U.S., LLC, 2022 WL 619519, at

*3 (Mass. App. Ct. Mar. 3, 2022) (“It is well settled that where a plaintiff’s 93A claim is wholly

derivative of a meritless statutory or common-law claim, the 93A claim must also fail as a matter

of law.”). Where a 93A claim is “based on the same economic theory of injury and the same

alleged set of facts” as another, such that they are “factually and legally intertwined,” the claims

“should survive or fail under the same analysis.” Iannachino v. Ford Motor Co., 451 Mass. 623,

634-35 (2008).

        Plaintiffs concede that “the 93A claims are based on the same conduct alleged in the[]

misrepresentation and fraudulent omission claims.” (Opp. at 52). Their only response is that the

fraud claims “are properly set forth.” (Id.). However, the Court has determined that in fact they

are not, at least as to plaintiff San Angelo.
                                                   62
      Case 1:23-cv-10829-FDS                Document 137            Filed 03/28/25         Page 63 of 80




        “[A] consumer plaintiff’s claim of violation of [Chapter 93A] based solely on an

underlying but meritless claim for common-law fraud is itself without merit . . . , because it is

‘absorbed in and vanishes with the [meritless] misrepresentation claim.’” Lily Transp. Corp. v.

Royal Institutional Servs., Inc., 64 Mass. App. Ct. 179, 204 (2005) (Laurence, J., concurring in

part and dissenting in part) (citation omitted) (quoting Fernandes v. Rodrigue, 38 Mass. App. Ct.

926, 928 (1995)). Thus, because the underlying Massachusetts common-law claims of plaintiff

San Angelo for fraudulent misrepresentation and concealment fail, his derivative Chapter 93A

claims will also be dismissed. 27

                 6.       New York (Counts 11 and 12)

        The ACC alleges violations of New York General Business Law § 349 and § 350.

Section 349 proscribes “deceptive acts or practices in the conduct of any business, trade or

commerce or in the furnishing of any service.” N.Y. Gen. Bus. Law § 349(a). And “[t]he

standard for recovery under General Business Law § 350, while specific to false advertising, is

otherwise identical to section 349.” Goshen v. Mut. Life Ins. Co. of New York, 98 N.Y.2d 314,

324 n.1 (N.Y. 2002). “To state a claim, a plaintiff must allege (1) that the defendant's acts were

consumer oriented, (2) that the acts or practices are ‘deceptive or misleading in a material way,’

and (3) that the plaintiff has been injured as a result.” Goldemberg v. Johnson & Johnson

Consumer Cos., Inc., 8 F. Supp. 3d 467, 478 (S.D.N.Y. 2014). 28


        27
           Because the Court will provide defendant an opportunity to file a renewed motion to dismiss as to the
fraudulent-misrepresentation claim of plaintiff Pollack, it will likewise provide the same opportunity as to his
Chapter 93A claim.
        28
           See Lugones v. Pete & Gerry’s Organic, LLC, 440 F. Supp. 3d 226, 240 n.7 (S.D.N.Y. 2020) (“Section
350 requires a plaintiff to plead that they relied on a defendant's statements at the time of purchase, Horowitz v.
Stryker Corp., 613 F. Supp. 2d 271, 288 (E.D.N.Y. 2009), but section 349 does not require reliance, see Belfiore v.
Procter & Gamble Co., 94 F. Supp. 3d 440, 446 (E.D.N.Y. 2015). Section 349 does, however, require that a
complaint plead causation, see Belfiore, 94 F. Supp. 3d at 446, and thus the pleading requirements end up being
much the same, see Tyman v. Pfizer, Inc., No. 16 Civ. 6941 (LTS) (BCM), 2017 WL 6988936, at *24 (S.D.N.Y.
Dec. 27, 2017), report and recommendation adopted, No. 16 Civ. 6941 (LTS) (BCM), 2018 WL 481890 (S.D.N.Y.
Jan. 18, 2018).”)

                                                        63
          Case 1:23-cv-10829-FDS                Document 137           Filed 03/28/25        Page 64 of 80




           In order to state a misrepresentation-based claim under Sections 349 and 350,

“[p]laintiffs must allege that they saw the misleading statements of which they complain before

they purchased or came into possession of [the product].” Lugones v. Pete & Gerry’s Organic,

LLC, 440 F. Supp. 3d 226, 240 (S.D.N.Y. 2020); see also Goldemberg, 8 F. Supp. 3d at 480 (“To

properly allege causation, a plaintiff must state in his complaint that he has seen the misleading

statements of which he complains before he came into possession of the products he

purchased.”); MacNaughton v. Young Living Essential Oils, LC, 67 F.4th 89, 98 (2d Cir. 2023)

(“[Plaintiff] properly alleged causation because her First Amended Complaint claims that she

saw the ‘therapeutic-grade’ label and the statements made about the individual [p]roducts’

promised effects before purchasing the [p]roducts.”).

           The ACC does not allege that any of the New York plaintiffs actually saw or heard any of

the alleged misrepresentations in Ford’s advertisements or other communications. Thus,

misrepresentation may not serve as a basis for their claims under Sections 349 and 350. See

Stern v. Electrolux Home Prods., Inc., 2024 WL 416495, at *7 (E.D.N.Y. Jan. 30, 2024)

(dismissing claims under Sections 349 and 350 where plaintiff “failed to allege he saw any of the

marketing materials prior to purchasing the [product]”); Morales v. Apple, Inc., 2023 WL

5579929, at *3 (S.D.N.Y. Aug. 29, 2023) (dismissing claims under Sections 349 and 350 where

the complaint was “silent as to when plaintiff saw any misrepresentation; let alone that plaintiff

saw any misrepresentation prior to purchasing the [product]”). 29

           The omission-based claims, however, fare better. “[A] plaintiff bringing an omission-

based claim for § 349 liability must show that ‘the business alone possesses material information




           29
                Again, the Court will not treat statements made by dealership employees as statements made by Ford
itself.

                                                            64
      Case 1:23-cv-10829-FDS            Document 137         Filed 03/28/25       Page 65 of 80




that is relevant to the consumer and fail[ed] to provide this information,’ or that plaintiffs could

not ‘reasonably have obtained the relevant information they now claim the [defendant] failed to

provide.’” Paradowski v. Champion Petfoods, Inc., 2023 WL 3829559, at *2 (2d Cir. June 6,

2023) (quoting Oswego Laborers' Loc. 214 Pension Fund v. Marine Midland Bank, N.A., 85

N.Y.2d 20, 26-27 (N.Y. 1995)). Defendant contends that the existence of “Ford’s TSBs,”

“various consumer complaints,” and the “O’Connor class action” demonstrate that plaintiffs

could reasonably have obtained the relevant information that they allege Ford concealed. (Def.

Mem. at 64). However, that is far from clear. As stated in O’Connor: “[T]he Court cannot

determine on the pleadings whether the NHTSA complaints were ‘readily available’ to

[p]laintiffs or would have provided [p]laintiffs with sufficient notice of the [d]efect. . . . It is not

apparent that the average consumer would know about NHTSA complaints, know how to access

them, or know how to interpret them or their importance to the decision to purchase a [v]ehicle.”

567 F. Supp. 3d at 965.

        The same reasoning applies here to the TSBs and “various consumer complaints” cited

by defendant. And similar reasoning applies to the filing of the O’Connor lawsuit itself. Absent

widespread news coverage, “the only way for consumers to directly access the complaints and

documents filed in [O’Connor] is through PACER or other paid subscription services like

LexisNexis or Westlaw,” or through relatively niche legal-trade publications. (Opp. at 57). It is

not reasonable to expect the average consumer to seek out, and potentially pay for, access to such

platforms in the regular course of shopping for a new vehicle. Cf. In re Takata Airbag Prod.

Liab. Litig., 677 F. Supp. 3d 1311, 1328 (S.D. Fla. 2023) (“[A]lthough the Takata recall

generated significant publicity, public awareness of issues regarding Takata airbag ruptures does

not equate with knowledge that Plaintiffs’ specific [c]lass [v]ehicles were being sold with



                                                   65
     Case 1:23-cv-10829-FDS            Document 137        Filed 03/28/25       Page 66 of 80




defective airbags.”).

       In short, the ACC alleges sufficient facts to plausibly suggest under New York law that

Ford had material information in its possession that plaintiffs “could not reasonably have

obtained” prior to purchasing their vehicles. Paradowski, 2023 WL 3829559, at *2.

Accordingly, it plausibly states a claim for violation of Sections 349 and 350 on the basis of

omission, and those claims will not be dismissed.

               7.       Oklahoma (Count 15)

       Defendant contends that the OCPA claims must be dismissed because “the OCPA does

not apply to misrepresentation claims involving motor vehicle advertisements.” (Def. Mem. at

64). The OCPA states that it shall not apply to “[a]ctions or transactions regulated under laws

administered by the Corporation Commission or any other regulatory body or officer acting

under statutory authority of this state or the United States.” Okla. Stat. Ann. tit. 15, § 754(2).

       Defendant contends that the OCPA claims—based upon Ford’s alleged

misrepresentations and omissions in advertising—are precluded because the Oklahoma New

Motor Vehicle Commission (“ONMVC”) regulates advertising. Specifically, the ONMVC’s

administrative code “provides that ‘[a] licensee’—i.e., ‘any entity or person required to obtain a

license from the Oklahoma [New] Motor Vehicle Commission’—‘shall not use false or

misleading advertising.’” Sweeney v. Toyota Motor Sales, U.S.A., Inc., 2023 WL 2628697, at

*14 (C.D. Cal. Feb. 9, 2023) (quoting Okla. Admin. Code §§ 465:15-3-1 & 465:15-1-2).

       The OCPA exempts “actions . . . regulated . . . [by] any other regulatory body.” Okla.

Stat. Ann. tit. 15, § 754(2). While the OCPA may provide different remedies, it is clear that the

ONMVC “regulates” “false or misleading advertising” of vehicles. Thus, if Ford is indeed

required to obtain a license from the ONMVC, such that its advertising would be subject to that

body’s regulation, an OCPA claim arising from that same advertising would be precluded. See
                                                 66
      Case 1:23-cv-10829-FDS                 Document 137            Filed 03/28/25         Page 67 of 80




In re Toyota RAV4 Hybrid Fuel Tank Litig., 534 F. Supp. 3d 1067, 1111 (N.D. Cal. 2021)

(“[T]he regulatory language [of Okla. Admin. Code §§ 465:15-3-1] indicates that

misrepresentations in the advertising of motor vehicles are governed by this provision and are

thus exempt from the Oklahoma Consumer Protection Act.”); Sweeny, 2023 WL 2628697, at *14

(same). 30

         Based on the allegations of the complaint alone, it is unclear whether Ford is required to

obtain a license from the ONMVC such that its advertisements would be subject to ONMVC

regulation. The statute, Okla. Stat. Ann. tit. 47, § 564, identifies who must be licensed:

         It shall be unlawful for any . . . firm . . . [or] corporation . . . to engage in business
         as, or serve in the capacity of, or act as a . . . manufacturer . . . of new motor
         vehicles . . . , or factory branch, . . . or factory representative, as defined
         in Section 562 of this title, in this state without first obtaining a license therefor as
         provided for by law.

Okla. Stat. Ann. tit. 47, § 564(A). Section 562 defines “manufacturer” as “any person, firm,

association, corporation, or trust, resident or nonresident, that manufactures or assembles new

and unused motor vehicles or new and unused powersport vehicles or that engages in the

fabrication or assembly of motorized vehicles of a type required to be registered in this state.”

Okla. Stat. Ann. tit. 47, § 562(5). It defines “factory branch” as “any branch office maintained

by a [manufacturer] for the sale of motor vehicles . . . to distributors, or for the sale of motor


         30
            Plaintiffs cite to In re Gen. Motors Corp., 2005 WL 1924335 (W.D. Okla. Aug. 8, 2005), a case in which
the court found that ONMVC regulation did not preclude OCPA claims. However, that case is distinguishable. The
court in In re Toyota RAV4 dismissed the OCPA claims after observing the following:
         [T]he court in [In re Gen. Motors Corp.] found only that the Oklahoma Motor Vehicle
         Commission's authority did not extend to the conduct at issue in that case, namely “the regulation
         of allegedly defective products”; such conduct was therefore not exempt from the Oklahoma
         Act. . . . But, as Toyota points out, Plaintiffs’ consumer protection claims here do not focus on
         “whether the [Vehicles] contained a design defect, but how TMS allegedly advertised and
         represented [their] fuel tank capacity.”
In re Toyota RAV4, 534 F. Supp. 3d at 1111 (citations omitted). The same reasoning applies here—the OCPA
claims are not based simply on the existence of the alleged defect, but instead on Ford’s alleged misrepresentations
and omissions in its advertising.

                                                         67
      Case 1:23-cv-10829-FDS                 Document 137           Filed 03/28/25          Page 68 of 80




vehicles to new motor vehicle dealers, . . . or for directing or supervising, in whole or in part, its

representatives.” Id. § 562(7). And it defines “factory representative” as “any officer or agent

engaged as a representative of a manufacturer of motor vehicles . . . or by a factory branch, for

the purpose of making or promoting the sale of its motor vehicles . . . , or for supervising or

contacting its dealers or prospective dealers.” Id. at § 562(9).

         While it is certainly possible that defendant maintains some of those operations within

Oklahoma, it conspicuously does not contend that it is, in fact, itself licensed by the ONMVC.

Thus, while ONMVC regulation would preclude the OCPA claims in the event defendant is

regulated by the ONMVC, the Court cannot determine that defendant is so regulated as a matter

of law at this stage. Therefore, the OCPA claims will not be dismissed on that basis. 31

                  8.       Pennsylvania (Count 16)

         Defendant contends that Pennsylvania plaintiffs’ misrepresentation-based UTPCPL

claims must be dismissed for failure to sufficiently allege causation, and that their omission-

based UTPCPL claims must be dismissed for failure to allege a duty to disclose.

         The UTPCPL “creates a private cause of action for consumers injured by unfair or

deceptive practices in trade or commerce.” Silverstein v. Percudani, 2005 WL 1252199, at *7

(M.D. Pa. May 6, 2005); 73 Pa. Stat. Ann. §§ 201-3 & 201-9.2. To state a claim for deceptive

practices under the UTPCPL “a plaintiff must establish that: 1) the alleged violations occurred in

trade or commerce; 2) the UTCPL grants a private cause of action for the injuries sustained; and

3) the alleged actions fall within one of the seventeen identified categories of unfair or deceptive

trade practices.” Silverstein, 2005 WL 1252199, at *7 (citing In re Smith, 866 F.2d 576, 581 (3d



         31
            Defendant also makes a generalized assertion in its reply memorandum that it is “indisputably . . .
federally regulated.” (Reply at 34). Without any additional specification or elaboration, the Court cannot rely on
that stray assertion as a basis for dismissal.

                                                         68
     Case 1:23-cv-10829-FDS            Document 137        Filed 03/28/25      Page 69 of 80




Cir. 1989)). Where, as here, UTPCPL claims sound in fraud, they are subject to the heightened

pleading requirements of Rule 9(b). See Coyle v. JSL Mech., Inc., 2023 WL 5985273, at *4

(E.D. Pa. Sept. 14, 2023).

       To state a claim for misrepresentation-based violation of the UTPCPL, a complaint must

plead causation, or actual reliance, sufficient to satisfy the requirements of Rule 9(b). See Yocca

v. Pittsburgh Steelers Sports, Inc., 578 Pa. 479, 501 (2004) (“To bring a private cause of action

under the UTPCPL, a plaintiff must show that he justifiably relied on the defendant's wrongful

conduct or representation and that he suffered harm as a result of that reliance.”); Gregg v.

Ameriprise Fin., Inc., 664 Pa. 567, 582 (2021) (“Section 201-9.2 creates a causation element,

which requires a private plaintiff to demonstrate justifiable reliance.”). As discussed, the ACC

does not allege that Pennsylvania plaintiffs were exposed to any specific representations made by

Ford, and therefore fails to allege facts sufficient to plead actual reliance under Rule 9(b), and

thus fails to state a claim for misrepresentation-based violation of the UTPCPL.

       Defendant further contends that the omission-based UTPCPL claims fail because the

ACC fails to allege that it had a duty to disclose. See DeSimone v. U.S. Claims Servs., Inc., 2020

WL 1164794, at *3 (E.D. Pa. Mar. 11, 2020) (“When allegations underlying a UTPCPL claim

involve a defendant's nondisclosure rather than misrepresentation, the omission is actionable

only if there is a duty to disclose.”). The duty to disclose under Pennsylvania law has been

summarized as follows:

       In the absence of a fiduciary or confidential relationship, Pennsylvania recognizes
       “a duty to disclose a known latent defect to a purchaser when the purchaser is
       unsophisticated and does not have access to the same information as the
       manufacturer.” Zwiercan v. Gen. Motors Corp., 58 Pa. D. & C. 4th 251, 259 (Pa.
       Com. Pl. 2002). However, such a duty to disclose has been limited to “known
       serious and life threatening latent defects.” Zwiercan v. Gen. Motors Corp., 2003
       WL 1848571, at *2 (Pa. Com. Pl. Mar. 18, 2003) (“Zwiercan III”). In other
       words, “a party has a duty to disclose known material and dangerous defects, i.e.

                                                 69
     Case 1:23-cv-10829-FDS           Document 137         Filed 03/28/25      Page 70 of 80




       those defects which are likely to cause significant bodily harm.” Id.

Tijerina v. Volkswagen Grp. of Am., Inc., 2023 WL 6890996, at *31 (D.N.J. Oct. 19, 2023). The

ACC alleges that the defect “has often led to potentially life-threatening situations,” (ACC

¶ 558), and it includes a variety of NHTSA complaints citing occurrences such as the

transmission “disengag[ing] completely when accelerating in traffic,” (Id. ¶ 630). Therefore, the

Court finds that the ACC plausibly alleges a duty to disclose under Pennsylvania law. Thus, the

omission-based UTPCPL claims will not be dismissed for failure to allege such a duty.

       Finally, defendant contends that the warranty-based UTPCPL violations are barred by

Pennsylvania’s “gist of the action” doctrine. The UTPCPL provides that “[f]ailing to comply

with the terms of any written guarantee or warranty given to the buyer at, prior to or after a

contract for the purchase of goods or services is made” constitutes an “unfair or deceptive act[]

or practice[].” 73 Pa. Stat. Ann. § 201-2(xiv). The Court need not assess whether a claim based

on that provision is barred by the “gist of the action” doctrine, because it has already determined

that the express warranty does not cover the alleged design defect at issue in this case.

       Accordingly, the UTPCPL claims will be dismissed to the extent they are based upon

alleged affirmative misrepresentations or breach of warranty, but will not be dismissed to the

extent they are based upon alleged omissions.

               9.      Texas (Count 10)

       Defendant contends that the misrepresentation-based TDTPA claims must be dismissed

for failure to sufficiently allege causation, and that both the misrepresentation- and omission-

based TDTPA claims must be dismissed because the statute does not apply to “upstream

manufacturers.”

       “The [T]DTPA grants consumers a cause of action for false, misleading, or deceptive acts

or practices.” Amstadt v. U.S. Brass Corp., 919 S.W.2d 644, 649 (Tex. 1996) (citing Tex. Bus.
                                                 70
     Case 1:23-cv-10829-FDS           Document 137        Filed 03/28/25      Page 71 of 80




& Com. Code Ann. § 17.50). “To maintain a lawsuit under the [T]DTPA, the plaintiff must

establish: (1) she is a ‘consumer’ under the [T]DTPA with respect to her claim against the

defendant; (2) the defendant committed a ‘false, misleading, or deceptive’ act; breached ‘an

express or implied warranty’; or otherwise engaged in ‘unconscionable’ conduct; and (3) the

defendant's actions were the ‘producing cause’ of the plaintiff's damages.” Chavez v. Ford

Motor Co., 2018 WL 6190601, at *3 (W.D. Tex. Sept. 26, 2018) (quoting Tex. Bus. & Com.

Code Ann. § 17.50). Here, plaintiffs assert claims under the “false, misleading or deceptive”

prong. (ACC ¶ 977). Where, as here, TDTPA claims sound in fraud, they are subject to the

heightened pleading requirement of Rule 9(b). See Chavez, 2018 WL 6190601, at *2 (“Federal

courts in Texas consistently apply Rule 9(b)’s heightened pleading requirements to claims

brought under the [T]DTPA.”); Bige, Inc. v. Penn-Am. Ins. Co., 2015 WL 5227726, at *4 (W.D.

Tex. Sept. 8, 2015) (same); Trejo v. Allstate Fire & Cas. Ins. Co., 2019 WL 4545614, at *7

(W.D. Tex. Sept. 19, 2019) (“Some of [plaintiff’s] claims for violation of . . . the TDTPA sound

in fraud and are, therefore, subject to Rule 9(b).”); cf. Stewart v. Nationwide Prop. & Cas. Ins.

Co., 2011 WL 4592256, at *3 (S.D. Tex. Sept. 29, 2011) (“Courts have found that claims

alleging violations under the Texas Insurance Code that are substantively identical to fraud are

subject to the Rule 9(b) pleading requirements.” (citation and quotation omitted)). The

misrepresentation-based TDTPA claims sound in fraud, are subject to the requirements of Rule

9(b), and contain a “producing cause” requirement akin to an actual-reliance requirement. The

Court will therefore dismiss the misrepresentation-based TDTPA claims for the same reasons

articulated in its dismissal of the Texas plaintiffs’ common-law fraudulent-misrepresentation

claims.

          Both misrepresentation- and omission-based TDTPA claims are subject to an “upstream



                                                71
      Case 1:23-cv-10829-FDS                 Document 137            Filed 03/28/25         Page 72 of 80




manufacturer” exception under Texas law. The Texas Supreme Court has held that the Texas

legislature did not intend for the TDTPA “to reach upstream manufacturers and suppliers when

their misrepresentations are not communicated to the consumer.” Amstadt, 919 S.W.2d at 649.

The court went on to clarify that “the defendant's deceptive trade act or practice is not actionable

under the [T]DTPA unless it was committed in connection with the plaintiff's transaction in

goods or services.” Id. at 650 (emphasis in original). That is an additional reason to dismiss the

TDTPA misrepresentation claims of plaintiffs Chaney, Hernandez, the Terrys, and the

Napiorkowskis, as the ACC contains no allegation that they were exposed to any particular

communication from Ford. 32 Given the broad sweep of Amstadt’s holding—apparently applying

generally to a “defendant’s deceptive trade act[s] or practice[s]”—the Court finds that the failure

of the complaint to allege that any of those plaintiffs actually saw or heard any specific

communication from Ford, renders Ford an exempt “upstream manufacturer” as to those

plaintiffs for the purposes of their omission-based TDTPA claims in addition to their

misrepresentation-based claims.

         The question that remains is whether the representations allegedly viewed by plaintiff

Smith are appropriately considered to be “in connection with the plaintiff’s transaction,” such

that Ford might not be exempt from his omission-based TDTPA claim. See Cortez v. State Farm

Mut. Auto. Ins. Co., 2006 WL 8435999, at *4 (W.D. Tex. Oct. 25, 2006) (“Amstadt does not

stand for the proposition that a plaintiff is never a consumer as to an upstream supplier . . . . The

question in Amstadt was whether the defendants’ conduct was sufficiently connected to the

consumer transaction to subject any defendant to liability under the [T]DTPA.” (quoting Atrium



         32
            While plaintiffs again contend that dealership-employee representations should be attributed to Ford, the
complaint does not allege that the dealerships are Ford’s agents, and does not allege even basic facts suggesting any
right or exercise of control by Ford over the dealerships.

                                                         72
      Case 1:23-cv-10829-FDS              Document 137           Filed 03/28/25        Page 73 of 80




Cos. v. Bethke, 2002 WL 31892204, at *2-3 (Tex. App. Dec. 31, 2002)). “Texas courts have

reasoned that a defendant need not be “present at the . . . transaction” to be liable under the

[T]DTPA for misrepresentations to a plaintiff when the plaintiff ‘relied on the [defendant's]

representations to make a business decision.’” Id. (quoting Church & Dwight Co., Inc. v. Huey,

961 S.W.2d 560, 565-66 (Tex. App. 1997)). While the communications allegedly viewed by

Smith are insufficient to sustain a fraudulent-misrepresentation claim, they are communications

that allegedly factored into Smith’s transaction. Thus, reading the complaint in the light most

favorable to plaintiffs, the Court finds those communications suffice to plausibly negate the

“upstream manufacturer” exemption as to Smith’s omission-based TDTPA claim.

        In sum, the TDTPA claims will be dismissed, except for that of plaintiff Smith to the

extent that his claim is based upon allegedly deceptive omissions.

        G.       Statute of Limitations

        Defendant further contends that certain claims are barred by relevant statutes of

limitations. Specifically, defendant concluded that the following claims are time-barred: the

fraud and ADPTA claims asserted by Alabama plaintiffs Boggan, Grier, and the Wolfes; the

CLRA claims asserted by California plaintiffs Butler and Martinez; the implied-warranty claims

(under both the California Commercial Code and SBCWA) asserted by plaintiff Butler; the New

York GBL claims asserted by New York plaintiffs Bunger and Soehnlein; and the implied- and

express-warranty claims asserted by plaintiff Bunger.

        As a preliminary matter, several of those claims will be dismissed for other reasons, and

therefore the Court will not reach the issue of whether they are also time-barred. 33


        33
            Specifically, the Alabama fraud claims, the implied-warranty claims under the California Commercial
Code, the SBCWA implied-warranty claim asserted by Butler, the express-warranty claims, and the implied-
warranty claims under New York law have already been deemed insufficient for other reasons. The claims asserted
by Grier, the Wolfes, Martinez, and Bunger have been stayed pending arbitration.

                                                      73
     Case 1:23-cv-10829-FDS           Document 137         Filed 03/28/25      Page 74 of 80




       The remaining claims are the ADTPA claim asserted by Boggan; the CLRA claim

asserted by Butler; and the New York GBL claims asserted by Soehnlein.

       “A claim may be dismissed under Rule 12(b)(6) on the ground that it is barred by the

applicable statute of limitations only when ‘the running of the statute is apparent on the face of

the complaint.’ . . . ‘[A] complaint cannot be dismissed unless it appears beyond doubt that the

plaintiff can prove no set of facts that would establish the timeliness of the claim.’” Von Saher v.

Norton Simon Museum of Art at Pasadena, 592 F.3d 954, 969 (9th Cir. 2010) (citations omitted).

“Dismissing a complaint as untimely at the pleading stage is an unusual step, since the complaint

need not anticipate and overcome affirmative defenses, such as the statute of limitations.” Sidney

Hillman Health Ctr. of Rochester v. Abbott Labs., Inc., 782 F.3d 922, 928 (7th Cir. 2015).

       Here, the Court agrees with plaintiffs that “[w]here, as in this case, ‘the dates pertinent to

the running of the statute cannot be determined from the allegations of the complaint, [] the

matter cannot be decided on a motion to dismiss, and defendants must raise the defense through

a motion for summary judgment or at trial.’” (Opp. at 71) (quoting Deirmenjian v. Deutsche

Bank, A.G., 526 F. Supp. 2d 1068, 1074 (C.D. Cal. 2007)). Furthermore, even where relevant

dates may appear in the complaint, in the context of a set of claims based upon alleged

concealment, there are facts that could potentially provide an exception to or extension of the

limitations period that have not yet been fully developed. Thus, none of the challenged claims

will be dismissed as untimely at this stage.

       H.      Injunctive Relief

       The ACC includes a request that the court “enjoin[] Ford from continuing the unlawful

practices as set forth herein, and order[] Defendant to engage in a corrective recall campaign.”

(ACC ¶ 1115(e)).

        A plaintiff in federal court “bears the burden of showing that he has standing for each
                                                 74
     Case 1:23-cv-10829-FDS            Document 137         Filed 03/28/25      Page 75 of 80




type of relief sought.” Summers v. Earth Island Inst., 555 U.S. 488, 493 (2009). “To have

standing to pursue injunctive relief, a plaintiff must ‘establish a real and immediate threat’

resulting in ‘a sufficient likelihood that [s]he will again be wronged in a similar way.’” Gray v.

Cummings, 917 F.3d 1, 19 (1st Cir. 2019) (quoting Am. Postal Workers Union v. Frank, 968

F.2d 1373, 1376 (1st Cir. 1992)). Plaintiffs do not allege that they will buy any other Ford

vehicles in the future, or that they will rely on Ford’s advertising representations going forward.

They thus fail to allege circumstances in which they will likely be exposed to future harm arising

from the allegedly “unlawful practices” as to which they have plausibly stated claims.

       Plaintiffs nonetheless contend that they “are likely to face ongoing performance issues

and related vehicle repair costs.” (Opp. at 73). That may be future injury, but it is not future

injury that could be remedied by an injunction against Ford to stop selling defective cars or to

stop publishing misleading advertisements.

       Furthermore, defendant contends that the request for injunctive relief in the form of a

court-ordered recall is preempted by the National Traffic and Motor Safety Act (“Safety

Act”), 49 U.S.C. 30101, et seq. Plaintiffs do not contest that assertion, and the Court agrees that

a court-ordered, nationwide recall based upon a set of state-law claims is impliedly preempted by

the Safety Act’s detailed regulation of motor-vehicle recalls. See Lilly v. Ford Motor Co., 2002

WL 84603, at *5 (N.D. Ill. Jan. 22, 2002) (“A nationwide court-ordered recall would conflict

directly with and frustrate the Safety Act.”); Flynn v. FCA U.S., LLC, 2016 WL 5341749, at *5

(S.D. Ill. Sept. 23, 2016) (“[A] state law can be preempted if it interferes with the actual goal of a

federal statute or if it interferes with the methods by which the federal statute set to achieve the

federal goal, and a court-supervised recall would run roughshod over the recall procedures put

forth in the Motor Vehicle Safety Act for an agency-coordinated recall.” (citations omitted));



                                                 75
      Case 1:23-cv-10829-FDS           Document 137         Filed 03/28/25         Page 76 of 80




Schiesser v. Ford Motor Co., 2017 WL 1283499, at *5 (N.D. Ill. Apr. 6, 2017) (“While the

Safety Act does not expressly state that only the Secretary of Transportation may order a motor

vehicle recall, the comprehensive nature of the federal administrative scheme indicates

Congress’[s] intent that only the Secretary of Transportation do so.” (citation and quotation

omitted)).

       Thus, plaintiffs’ request for injunctive relief fails as a matter of law.

IV.    Conclusion

       For the foregoing reasons, the Motion of Defendant Ford Motor Company to Dismiss the

Amended Consolidated Class Action Complaint is GRANTED in part and DENIED in part, as

follows:

       1.      As set forth in the Memorandum and Order on Defendant’s Motion to Compel
               Arbitration, filed March 28, 2025, the claims of certain identified plaintiffs are
               being stayed pending arbitration (the “Arbitration Plaintiffs”), and the claim of
               plaintiff Shannon Hartman is being severed from the present action and
               transferred to the United States District Court for the Central District of California
               for resolution of defendant’s motion to compel arbitration (the “Severed and
               Transferred Plaintiff”). As to the claims of those plaintiffs, the motion to dismiss
               is DENIED without prejudice to its renewal should those claims be litigated,
               rather than arbitrated, at a future time.

       2.      The motion to dismiss is GRANTED as to the claims of all plaintiffs, other than
               the Arbitration Plaintiffs and the Severed and Transferred Plaintiff, asserted in
               Count 1 (Breach of Express Warranty).

       3.      The motion to dismiss is GRANTED as to the claims of all plaintiffs, other than
               the Arbitration Plaintiffs, the Severed and Transferred Plaintiff, and
               Massachusetts plaintiff Jeffrey Pollack, asserted in Count 5 (Fraud), to the extent
               the claims are based on an alleged affirmative misrepresentation.

       4.      The motion to dismiss is GRANTED as to the following claims:

               a.      Count 2 (Breach of Implied Warranty of Merchantability) as to the claims
                       of Alabama plaintiffs Larry Boggan and Bradford Houseal;

               b.      Count 2 (Breach of Implied Warranty of Merchantability) as to the claims
                       of California plaintiffs Caitlin Butler, Amanda Simmons, and Steve
                       Joneson;
                                                 76
Case 1:23-cv-10829-FDS      Document 137        Filed 03/28/25     Page 77 of 80




       c.    Count 2 (Breach of Implied Warranty of Merchantability) as to the claims
             of Florida plaintiffs Joseph Vangel, Bryan Klontz, and Janet Paula;

       d.    Count 2 (Breach of Implied Warranty of Merchantability) as to the claims
             of Illinois plaintiffs Marc Chambers, David Diersen, Chris Meredith, and
             Terry Abate;

       e.    Count 2 (Breach of Implied Warranty of Merchantability) as to the claim
             of Massachusetts plaintiff Ron San Angelo;

       f.    Count 2 (Breach of Implied Warranty of Merchantability) as to the claims
             of New York plaintiffs Teressa Kohman, Mark Soehnlein, and Dean
             Ianazzi;

       g.    Count 2 (Breach of Implied Warranty of Merchantability) as to the claims
             of Oklahoma plaintiffs Kyle and Valerie Johnson;

       h.    Count 3 (Violation of the Song-Beverly Consumer Warranty Act for
             Breach of Express Warranty) as to the claims of California plaintiffs
             Caitlin Butler, Amanda Simmons, and Steve Joneson;

       i.    Count 4 (Violation of the Song-Beverly Consumer Warranty Act for
             Breach of Implied Warranties) as to the claims of California plaintiffs
             Amanda Simmons and Caitlin Butler;

       j.    Count 5 (Fraudulent Concealment) as to the claims of Alabama plaintiffs
             Larry Boggan and Bradford Houseal, to the extent that those claims are
             based on an alleged concealment or omission;

       k.    Count 5 (Fraudulent Concealment) as to the claims of California plaintiffs
             Caitlin Butler, Amanda Simmons, and Steve Joneson, to the extent that
             those claims are based on an alleged concealment or omission and arise
             out of alleged post-purchase injuries;

       l.    Count 5 (Fraudulent Concealment) as to the claims of Florida plaintiffs
             Joseph Vangel, Bryan Klontz, and Janet Paula, to the extent that those
             claims are based on an alleged concealment or omission;

       m.    Count 5 (Fraudulent Concealment) as to the claims of Illinois plaintiffs
             Marc Chambers, David Diersen, Chris Meredith, and Terry Abbate, to the
             extent that those claims are based on an alleged concealment or omission;

       n.    Count 5 (Fraudulent Concealment) as to the claim of Massachusetts
             plaintiff Ron San Angelo, to the extent that the claim is based on an
             alleged concealment or omission;

                                      77
Case 1:23-cv-10829-FDS      Document 137        Filed 03/28/25      Page 78 of 80




       o.    Count 5 (Fraudulent Concealment) as to the claims of New York plaintiffs
             Teressa Kohman, Mark Soehnlein, and Dean Ianazzi to the extent that
             those claims are based on an alleged concealment or omission;

       p.    Count 5 (Fraudulent Concealment) as to the claims of Oklahoma plaintiffs
             Kyle and Valerie Johnson, to the extent that those claims are based on an
             alleged concealment or omission;

       q.    Count 5 (Fraudulent Concealment) as to the claim of Pennsylvania
             plaintiff Marvin Burdick, to the extent that the claim is based on an
             alleged concealment or omission;

       r.    Count 5 (Fraudulent Concealment) as to the claims of Texas plaintiffs
             Shawn Chaney, Cathis Antonio Hernandez, Kevin Smith, Gwendolyn
             Terry and David Terry III, and Carrie and Witold Napiorkowski, to the
             extent that those claims are based on an alleged concealment or omission;

       s.    Count 6 (Violation of Massachusetts Gen. Laws ch. 93A) as to the claim
             of Massachusetts plaintiff Ron San Angelo;

       t.    Count 7 (Violation of Florida Deceptive and Unfair Trade Practices Act)
             as to the claim of Florida plaintiff Bryan Klontz;

       u.    Count 9 (Violation of Illinois Consumer Fraud and Deceptive Practices
             Act) as to the claims of Illinois plaintiffs Marc Chambers, David Diersen,
             Chris Meredith, and Terry Abbate;

       v.    Count 10 (Violation of Texas Deceptive Trade Practices and Consumer
             Protection Act) as to the claims of Texas plaintiffs Shawn Chaney, Cathis
             Antonio Hernandez, Kevin Smith, Gwendolyn Terry and David Terry III,
             and Carrie and Witold Napiorkowski, except to the extent that the claim of
             plaintiff Kevin Smith is based on an allegedly deceptive omission;

       w.    Counts 11 and 12 (Violation of New York General Business Law §§ 349
             and 350) as to the claims of New York plaintiffs Teressa Kohman, Mark
             Soehnlein, and Dean Ianazzi, to the extent that those claims are based on
             an affirmative misrepresentation;

       x.    Count 13 (Violation of California Consumer Legal Remedies Act) as to
             the claims of California Plaintiffs Caitlin Butler, Amanda Simmons, and
             Steve Joneson, to the extent that those claims are based on an affirmative
             misrepresentation;




                                      78
Case 1:23-cv-10829-FDS       Document 137        Filed 03/28/25      Page 79 of 80




       y.     Count 14 (Violation of California Unfair Competition Law) as to the
              claims of California Plaintiffs Caitlin Butler, Amanda Simmons, and Steve
              Joneson, without prejudice; and

       z.     Count 16 (Violation of Pennsylvania Unfair Trade Practice and Consumer
              Protection Law) as to the claim of Pennsylvania plaintiff Marvin Burdick,
              to the extent that the claim is based on an affirmative misrepresentation or
              breach of warranty.

 5.    The motion to dismiss is GRANTED as to the claims of Massachusetts plaintiffs
       Daniel McCabe, Daniel Wright, and Jeffrey Pollack for breach of express
       warranty (Count 1) and fraudulent concealment (Count 5) to the extent that those
       claims were dismissed by the Court in its memorandum and order dated March 8,
       2024, and pleaded again after that dismissal in the Amended Consolidated Class
       Action Complaint.

 6.    The motion to dismiss is GRANTED as to all claims seeking injunctive relief.

 7.    The motion to dismiss is DENIED as to the following claims:

       a.     Count 5 (Fraud) as to the claims of California plaintiffs Caitlin Butler,
              Amanda Simmons, and Steve Joneson, to the extent that those claims are
              based on an alleged concealment or omission that induced plaintiffs to
              purchase or lease their vehicles;

       b.     Count 7 (Violation of Florida Deceptive and Unfair Trade Practices Act)
              as to the claims of Florida plaintiffs Joseph Vangel and Janet Paula;

       c.     Count 8 (Violation of Alabama Deceptive Trade Practices Act) as to the
              claims of Alabama plaintiffs Larry Boggan and Bradford Houseal;

       d.     Counts 11 and 12 (Violation of New York General Business Law §§ 349
              and 350) as to the claims of New York plaintiffs Teressa Kohman, Mark
              Soehnlein, and Dean Ianazzi, to the extent that those claims are based on
              an alleged concealment or omission;

       e.     Count 13 (Violation of California Consumer Legal Remedies Act) as to
              the claims of California plaintiffs Caitlin Butler, Amanda Simmons, and
              Steve Joneson, to the extent that those claims are based on an alleged
              concealment or omission;

       f.     Count 15 (Violation of Oklahoma Consumer Protection Act) as to the
              claims of Oklahoma plaintiffs Kyle and Valerie Johnson;

       g.     Count 16 (Violation of Pennsylvania Unfair Trade Practice and Consumer
              Protection Law) as to the claim of Pennsylvania plaintiff Marvin Burdick,

                                       79
    Case 1:23-cv-10829-FDS          Document 137        Filed 03/28/25     Page 80 of 80




                     to the extent that the claim is based on an alleged concealment or
                     omission; and

              h.     Count 10 (Violation of Texas Deceptive Trade Practices and Consumer
                     Protection Act) as to the claim of Texas plaintiff Kevin Smith, to the
                     extent that the claim is based on an alleged concealment or omission.

      8.      The motion to dismiss is DENIED as to any asserted defense based on the statute
              of limitations.

      9.      Defendant shall file any renewed motion to dismiss Counts 5 (fraud based on an
              affirmative misrepresentation) and 6 (violation of Massachusetts Gen. Laws ch.
              93A) as to the claims of Massachusetts plaintiff Jeffrey Pollack within 21 days of
              the date of this order—that is, by April 18, 2025.

So Ordered.


                                                       /s/ F. Dennis Saylor IV
                                                       F. Dennis Saylor IV
Dated: March 28, 2025                                  Chief Judge, United States District Court




                                              80
